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                       Exhibit B
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                                                                            Page 1
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·3
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·9· · · · · · · Transcript of Audio File:
10· ·New Recording 30 (Tony Lyons - Sharon Churcher)
11· · · · · · · ·Audio Runtime:· 1:17:53
12
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                                                                            Page 2
·1· · · · (Beginning of audio recording.)
·2· · · · TONY LYONS:· Hey, how are you?
·3· · · · SHARON CHURCHER:· Hi.· I didn't know your mom was
·4· ·an artist.
·5· · · · TONY LYONS:· Yes.
·6· · · · SHARON CHURCHER:· Wow.
·7· · · · TONY LYONS:· She -- she died about two and a half
·8· ·years ago.
·9· · · · SHARON CHURCHER:· Oh, I'm sorry.· But incredible.
10· ·I mean -- wow.
11· · · · TONY LYONS:· Still figuring out what to do with
12· ·all of her paintings.
13· · · · SHARON CHURCHER:· I assume -- did she have -- did
14· ·she sell --
15· · · · TONY LYONS:· She sold --
16· · · · SHARON CHURCHER:· (Inaudible) surely.
17· · · · TONY LYONS:· She had a lot of shows, but she
18· ·didn't sell a ton.
19· · · · SHARON CHURCHER:· Really?
20· · · · TONY LYONS:· But she sold some.
21· · · · SHARON CHURCHER:· Because they're stunning.                   I
22· ·mean, I'm not an art critic, but --
23· · · · TONY LYONS:· We've been selling more since she --
24· ·since she died than we did before.· Come on.· Just one
25· ·second.· Hey, could you add in the quantities that


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·1· ·Bill needed for Garth?· That was the customer.· So
·2· ·that's where the list was.· If each of them had like a
·3· ·number next to them, like 300 or 500.
·4· · · · MALE VOICE:· So where do you want me to add that?
·5· · · · TONY LYONS:· Just in this notes section.
·6· · · · MALE VOICE:· Okay.· All right.
·7· · · · TONY LYONS:· That's great.· It'll give me a
·8· ·better sense of what to print.
·9· · · · SHARON CHURCHER:· I saw your Alan Dershowitz
10· ·announcement.
11· · · · TONY LYONS:· Yeah.· Yeah, what did you think of
12· ·that?
13· · · · SHARON CHURCHER:· It's a pretty good idea.                   I
14· ·mean, I was stuck in the middle of it.· You know, I
15· ·broke that whole Virginia Roberts --
16· · · · TONY LYONS:· Yeah, so what is the whole -- the
17· ·whole --
18· · · · SHARON CHURCHER:· I can't tell you what I know.
19· ·I'm sure Alan will have a subpoena out soon.
20· · · · TONY LYONS:· What is the -- so -- so you broke
21· ·the story in --
22· · · · SHARON CHURCHER:· The Mail.
23· · · · TONY LYONS:· In the --
24· · · · SHARON CHURCHER:· I (inaudible) here in the U.S.
25· ·That's -- isn't that Mail online.


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·1· · · · TONY LYONS:· Yeah, yeah.
·2· · · · SHARON CHURCHER:· The Mail, if you ever look at
·3· ·that.
·4· · · · TONY LYONS:· Oh, so that's not like Radar Online
·5· ·--
·6· · · · SHARON CHURCHER:· I worked for them afterwards.
·7· ·It was quite a falling out with them after I wrote
·8· ·that story because they are part of the British
·9· ·establishment, and they ran it without thinking about
10· ·the fact that the editor-in-chief is a friend of the
11· ·royal family's.· I got laid off (inaudible).
12· · · · TONY LYONS:· So that's a big kind of -- yeah.
13· · · · SHARON CHURCHER:· So, no, I read that story.
14· ·I've been intrigued by who Jane Doe 102 was in the
15· ·court papers.· And I had another assignment down
16· ·south, which is -- I knew roughly she was from -- I
17· ·knew she was from Florida, the girl.· And the other
18· ·assignment didn't work, and I managed to take a week
19· ·just looking around, and found out this woman's name
20· ·and found her down in Australia.
21· · · · TONY LYONS:· Wow.
22· · · · SHARON CHURCHER:· That was when newspapers still
23· ·had budgets.
24· · · · TONY LYONS:· Yeah.· To send you to Australia?
25· · · · SHARON CHURCHER:· Yeah.


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·1· · · · TONY LYONS:· Wow.
·2· · · · SHARON CHURCHER:· And to pay her quite a bit of
·3· ·money.· That's been public now.· She got paid.· It was
·4· ·checkbook journalism.
·5· · · · TONY LYONS:· Yeah.
·6· · · · SHARON CHURCHER:· But Alan in the middle of it?
·7· ·I mean, I have my views.· I mean -- I -- I don't
·8· ·believe her in that.
·9· · · · TONY LYONS:· Yeah.
10· · · · SHARON CHURCHER:· And I know he'd love to know
11· ·what I know, and I don't really know anything.
12· · · · TONY LYONS:· Yeah.
13· · · · SHARON CHURCHER:· His name is not in my stories,
14· ·which enough to really speak for itself so.
15· · · · TONY LYONS:· Yeah.· So I was thinking about -- I
16· ·mean, so isn't -- I mean, I -- I thought -- and I
17· ·looked for some of the correspondence that you and I
18· ·had, and I -- I -- I couldn't find it.
19· · · · SHARON CHURCHER:· Okay.
20· · · · TONY LYONS:· It was --
21· · · · SHARON CHURCHER:· I made kind of a little --
22· · · · TONY LYONS:· -- from when --
23· · · · SHARON CHURCHER:· -- book of ideas since I knew,
24· ·and I'm lazy --
25· · · · TONY LYONS:· Right, right, right.


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·1· · · · SHARON CHURCHER:· -- and I don't particularly
·2· ·want to go around the publishing industry.· So I
·3· ·thought of -- I thought (inaudible) was ridiculous.                    I
·4· ·thought it was a satirical book.
·5· · · · TONY LYONS:· Yeah, yeah.
·6· · · · SHARON CHURCHER:· But in a way --
·7· · · · TONY LYONS:· But I actually see --
·8· · · · (Overlapping voices)
·9· · · · SHARON CHURCHER:· -- agent has said you'll be
10· ·blacklisted, and so I just dropped it.· So I sort of -
11· ·- it was just an idea I had.· I don't know if there's
12· ·something there.· Now you've got Alan doing his own
13· ·book.
14· · · · TONY LYONS:· See, I would -- I would think that
15· ·it's -- it's a better book as -- sorry.· Thanks a lot.
16· · · · MALE VOICE:· No problem.
17· · · · SHARON CHURCHER:· I think --
18· · · · TONY LYONS:· That was fast.
19· · · · SHARON CHURCHER:· (inaudible) wasn't going to
20· ·work.· I actually did try it, and I couldn't make it
21· ·work.
22· · · · TONY LYONS:· I -- I was thinking that doing it as
23· ·a -- as satire just doesn't really work.
24· · · · SHARON CHURCHER:· It doesn't work.
25· · · · TONY LYONS:· Because it --


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·1· · · · SHARON CHURCHER:· I tried, you know.
·2· · · · TONY LYONS:· -- because it's got to be perfect,
·3· ·and you're just going to piss off people because
·4· ·you're not going to get it perfect.
·5· · · · SHARON CHURCHER:· And also P.J. O'Rourke, you
·6· ·know, sort of did a very funny book --
·7· · · · TONY LYONS:· Managed to fuck over people without
·8· ·letting them know it.
·9· · · · SHARON CHURCHER:· I mean, and you couldn't do
10· ·better than P.J. really.
11· · · · TONY LYONS:· Yeah.
12· · · · SHARON CHURCHER:· I know him, and I did ask him,
13· ·and he just said, look, yeah, it's not going to work.
14· · · · TONY LYONS:· So I -- I was thinking it was better
15· ·as an actual guide to how to act.· You know, just like
16· ·a little -- a little handbook.· Like 5 by 7, that's
17· ·sort of like -- you know, because I -- I do think a
18· ·lot of people don't -- don't really know how to act.
19· ·And you can see it even around here, like, nobody's
20· ·going to comment on the way anybody's dressed.
21· ·Nobody's going to ask people, like -- you know, like a
22· ·lot of the things you -- you say here.· Nobody's going
23· ·to -- so -- yeah, let's -- let's see.· Like some of
24· ·the --
25· · · · SHARON CHURCHER:· You're thinking of something


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·1· ·you'd sell right at the grocery store --
·2· · · · TONY LYONS:· Like point of purchase.· Airport.                    I
·3· ·mean, I -- I mean, so the only problem with airport
·4· ·stores is the co-op costs so much money.· So basically
·5· ·what the airport stores do is they're basically
·6· ·selling you the space.· And so it doesn't really work
·7· ·for like a 12.95 handbook.
·8· · · · But it does seem like -- like there would be a
·9· ·big market.· Maybe even like HR departments would want
10· ·to hand it out to people who --
11· · · · SHARON CHURCHER:· You're worse than I am.
12· · · · TONY LYONS:· No, really, I mean, it's --
13· · · · SHARON CHURCHER:· No, I think it's a wonderful
14· ·idea.
15· · · · TONY LYONS:· Right, I mean --
16· · · · SHARON CHURCHER:· I like it.
17· · · · TONY LYONS:· I mean, so --
18· · · · SHARON CHURCHER:· You know there's dating
19· ·(inaudible).
20· · · · TONY LYONS:· -- a bunch of case studies.· What's
21· ·that?
22· · · · SHARON CHURCHER:· I did actually look online --
23· · · · TONY LYONS:· What?
24· · · · SHARON CHURCHER:· -- before coming to see you.
25· ·There's now a consent app.· A dating app.


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·1· · · · TONY LYONS:· Oh, really.
·2· · · · SHARON CHURCHER:· What you do is put down all the
·3· ·things, you know.
·4· · · · TONY LYONS:· Yeah.
·5· · · · SHARON CHURCHER:· Yeah.
·6· · · · TONY LYONS:· So somebody has to like click?
·7· · · · SHARON CHURCHER:· You have to consent to various
·8· ·things you might do with the woman or man or --
·9· · · · TONY LYONS:· See, I mean --
10· · · · SHARON CHURCHER:· -- dog, sheep.
11· · · · TONY LYONS:· Biggest problem there from a
12· ·theoretical standpoint is that you're -- you're --
13· ·you're, of course, at liberty to withhold your consent
14· ·at any point.
15· · · · SHARON CHURCHER:· I know, they said that.
16· ·Apparently, the app is going to allow you to change
17· ·your mind.
18· · · · TONY LYONS:· Yeah, but then you have to go on the
19· ·app.· Like, it's got to do it in real -- it's got to
20· ·be like -- like tape recording you where you say,
21· ·okay, withheld.
22· · · · SHARON CHURCHER:· (Inaudible) difficult.
23· · · · TONY LYONS:· Yes, yes, yes, no.· Not with --
24· · · · SHARON CHURCHER:· Just (inaudible) it's easy.
25· · · · TONY LYONS:· This is -- yeah, it seems like --


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·1· · · · SHARON CHURCHER:· I (inaudible) the idea.· You'd
·2· ·have to really think about it carefully.· I mean, you
·3· ·know --
·4· · · · TONY LYONS:· I would say a really serious book
·5· ·but --
·6· · · · SHARON CHURCHER:· Does it need a name on it?
·7· ·Does it need to be done -- (inaudible) someone's name
·8· ·on?
·9· · · · TONY LYONS:· Yeah, but I actually think that your
10· ·-- your name helps because you've been kind of in the
11· ·middle of some of this stuff.
12· · · · SHARON CHURCHER:· You mean the Dershowitz thing?
13· · · · TONY LYONS:· Yeah.
14· · · · SHARON CHURCHER:· Yeah.· He wouldn't (inaudible)
15· ·would he?
16· · · · TONY LYONS:· What's that?
17· · · · SHARON CHURCHER:· I don't suppose we could
18· ·suppose him to co-author it, could we?
19· · · · TONY LYONS:· I don't know.
20· · · · SHARON CHURCHER:· Because I'll tell you what, I
21· ·knew him when I was Penthouse.· I was Guccione's -- he
22· ·may remember me.· I did U.S.A. Confidential --
23· · · · TONY LYONS:· Yeah, yeah, yeah.
24· · · · SHARON CHURCHER:· -- after I had done New York
25· ·Confidential, the book.· Bob Guccione had me to do a


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·1· ·(inaudible) because he wanted to get sued.· He said
·2· ·(inaudible) being sued.· And Alan was doing a column
·3· ·at the time.· ·I mean, I can't tell you what the sex
·4· ·slave didn't tell me, but --
·5· · · · TONY LYONS:· Yeah.
·6· · · · SHARON CHURCHER:· -- I mean, forgetting all of
·7· ·that, it could be very -- it could be quite commercial
·8· ·there, I think.
·9· · · · TONY LYONS:· Yeah.
10· · · · SHARON CHURCHER:· You know, but --
11· · · · TONY LYONS:· Because then it's --
12· · · · SHARON CHURCHER:· -- journalist --
13· · · · TONY LYONS:· It's by sort of like a lawyer and a
14· ·journalist, and you were -- you were part of it.
15· · · · SHARON CHURCHER:· Yeah.· I mean, we just tell
16· ·people --
17· · · · TONY LYONS:· I don't know.
18· · · · SHARON CHURCHER:· -- how to do it.· What about
19· ·the two-way street?· If you -- see, that's one thing.
20· ·If you are going to do it, you've got to talk about
21· ·how you handle the casting couch now.· Because a lot
22· ·of us used it, you see.· So the problem is what if you
23· ·still want to use it.
24· · · · TONY LYONS:· Yeah.
25· · · · SHARON CHURCHER:· So you could put in some quite


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·1· ·pointed stuff on that because Me Too -- you know, most
·2· ·of these people did it for a reason.
·3· · · · TONY LYONS:· Yeah.
·4· · · · SHARON CHURCHER:· Like I know Weinstein's woman
·5· ·who I know who was published by Harvey.
·6· · · · TONY LYONS:· Yeah.
·7· · · · SHARON CHURCHER:· And it was incredible at her
·8· ·book party, it was Georgina Chapman, the wife, my
·9· ·friend's mother, and Harvey making out with my friend,
10· ·whose books he published.
11· · · · TONY LYONS:· Wow.
12· · · · SHARON CHURCHER:· I mean, this was definitely a
13· ·two-way street.· So what happens now if consensually -
14· ·-
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· -- you could have a little bit
17· ·on that.
18· · · · TONY LYONS:· Yeah.
19· · · · SHARON CHURCHER:· But dressing, I hadn't thought
20· ·about that.· Also, it's how you talk to people.
21· · · · TONY LYONS:· Yeah.
22· · · · SHARON CHURCHER:· You know, sweetheart, hun.
23· · · · TONY LYONS:· Yeah, you can't do it.· Yeah.                     I
24· ·mean -- I mean, I didn't ever do any of that stuff,
25· ·but it was so prevalent in New York when I was in my


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·1· ·20s.· Like -- or even before that in the 70s in New
·2· ·York.· I mean, it was -- you know, it was the whole
·3· ·population basically.· Men whistling.
·4· · · · SHARON CHURCHER:· I know --
·5· · · · TONY LYONS:· Calling people names.
·6· · · · SHARON CHURCHER:· Yeah, I know, the problem is if
·7· ·they don't whistle now -- I was telling a friend of
·8· ·mine, you know, we really miss it as we get older.
·9· ·The whistling was quite appreciated.· It was quite
10· ·funny.· The whole women's movement, the big
11· ·difference, of course, was the women's movement march
12· ·to now everyone's suing.· So it has changed, hasn't
13· ·it?
14· · · · TONY LYONS:· Hmm.
15· · · · SHARON CHURCHER:· And the big thing is, what do
16· ·you do if you don't want to end up in the middle of
17· ·it, right?· My husband was asking me last night, he
18· ·said I think I'm absolutely fine.· I said are you
19· ·sure.
20· · · · TONY LYONS:· Yeah.
21· · · · SHARON CHURCHER:· You know, I mean --
22· · · · TONY LYONS:· Well, I mean, I think that's --
23· ·that's what Alan's point is.
24· · · · SHARON CHURCHER:· You should have someone
25· ·investigate.· What could happen on that one is we


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·1· ·could suggest people hire reputation companies like --
·2· ·you know, the political candidates do it.
·3· · · · TONY LYONS:· Yeah.
·4· · · · SHARON CHURCHER:· You know if you running you
·5· ·hire someone to look at you.
·6· · · · TONY LYONS:· Yeah.
·7· · · · SHARON CHURCHER:· That's the new thing.· Well,
·8· ·you could do that now.
·9· · · · TONY LYONS:· And you can see --
10· · · · SHARON CHURCHER:· (Inaudible).
11· · · · TONY LYONS:· -- is there anybody out there.
12· · · · SHARON CHURCHER:· There must be companies who
13· ·will do it for you, just reputation companies look at
14· ·your own past.
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· Yeah.· Say you're going -- you
17· ·know, you're going to do an IPO or something, you
18· ·might want to do that just --
19· · · · TONY LYONS:· But then again, nowadays, like --
20· ·you know, so Alan says that he never met her.· And --
21· · · · SHARON CHURCHER:· I don't know if he -- he
22· ·definitely doesn't know if he met her.· That's that I
23· ·suspect.
24· · · · TONY LYONS:· And she probably doesn't know if she
25· ·met him.


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·1· · · · SHARON CHURCHER:· (Inaudible).· I don't know.                     I
·2· ·mean, Alan says that those emails clear him.· One of
·3· ·the emails, she says to me, you know, I -- I'd hate to
·4· ·say it, but I don't remember that email, and I wonder
·5· ·about some of these emails, too, that she's produced.
·6· ·Because of course you can change emails.
·7· · · · TONY LYONS:· Yeah.
·8· · · · SHARON CHURCHER:· And I'm supposed to have said
·9· ·in one email of course we all think Alan's a pedo and
10· ·it's a word I've never heard of.· I never used that
11· ·word.
12· · · · TONY LYONS:· Yeah.
13· · · · SHARON CHURCHER:· I don't actually know that
14· ·word.· I never used that word.
15· · · · TONY LYONS:· But even if you did say that --
16· · · · SHARON CHURCHER:· I didn't.· I didn't.· But I'm
17· ·not going to be in the middle of that one.
18· · · · TONY LYONS:· Right, right, right.
19· · · · SHARON CHURCHER:· No, I think he --
20· · · · TONY LYONS:· But I mean --
21· · · · SHARON CHURCHER:· -- probably met her --
22· · · · TONY LYONS:· -- even if you did, that's just your
23· ·--
24· · · · SHARON CHURCHER:· Yeah, opinion.· Well, no, he's
25· ·saying also that if -- if she's asking did I ever


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·1· ·meet, who did I meet, not her.· I don't know.· I don't
·2· ·think for one minute -- it's not in my stories.                  I
·3· ·mean, there was some men I didn't name because they
·4· ·were threatening.
·5· · · · TONY LYONS:· Yeah.
·6· · · · SHARON CHURCHER:· It was Ehud Barak was one.
·7· · · · TONY LYONS:· Right.
·8· · · · SHARON CHURCHER:· And he definitely was -- you
·9· ·know, documentation.· He was a bit of a --
10· · · · TONY LYONS:· But how did -- how did she -- she go
11· ·from not remembering him to saying specifically?
12· ·Like, nobody forgets trauma.· It's like -- I mean, I -
13· ·- I even recognize that in -- in my own life.· That
14· ·when -- when something big happened 35 years ago, I --
15· ·I remember it for the rest of my life, you know.
16· · · · SHARON CHURCHER:· Oh, I think --
17· · · · TONY LYONS:· And then --
18· · · · SHARON CHURCHER:· I think the (inaudible).
19· · · · TONY LYONS:· But the other stuff --
20· · · · SHARON CHURCHER:· I think he's absolutely right.
21· ·I think Brad Edwards, you know, one of her lawyers,
22· ·hates him because --
23· · · · TONY LYONS:· Hates Alan?
24· · · · SHARON CHURCHER:· -- he went after him on the
25· ·Ponzi scheme stuff.· Apparently Edwards was using --


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·1· · · · TONY LYONS:· Oh, I didn't really know about that.
·2· · · · SHARON CHURCHER:· He was selling settlement for -
·3· ·- that's the thing lawyers do?
·4· · · · TONY LYONS:· Yeah.
·5· · · · SHARON CHURCHER:· And it wasn't Alan
·6· ·specifically.· But Epstein's legal team went after
·7· ·Edwards.· It became very expensive litigation.· And
·8· ·Edwards hated Dershowitz.· And I think he put her up
·9· ·to it is my theory.
10· · · · TONY LYONS:· Wow.
11· · · · SHARON CHURCHER:· Pure and simple.· Dershowitz is
12· ·right.· Because wouldn't she have named him to me in
13· ·my --
14· · · · TONY LYONS:· Yeah.
15· · · · SHARON CHURCHER:· So she named a lot of people,
16· ·and now the court's unsealed everything, all the names
17· ·are out there like George Mitchell --
18· · · · TONY LYONS:· I mean, if --
19· · · · SHARON CHURCHER:· -- all these people --
20· · · · TONY LYONS:· -- she really had sex with him twice
21· ·-- right, like wouldn't she --
22· · · · SHARON CHURCHER:· She would have named him.
23· · · · TONY LYONS:· -- have just said it?
24· · · · SHARON CHURCHER:· I mean, you know, here we are,
25· ·sitting down.· It's no secret it's a big financial


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·1· ·agreement.· She's under contract.
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· Supposed to tell the truth.
·4· · · · TONY LYONS:· Yeah.
·5· · · · SHARON CHURCHER:· Wouldn't you name the lawyer?
·6· · · · TONY LYONS:· Sure.· Especially somebody --
·7· · · · SHARON CHURCHER:· It's not in my article --
·8· · · · TONY LYONS:· -- as high profile as --
·9· · · · SHARON CHURCHER:· -- she's named -- she's named
10· ·Prince Andrew.· Okay, Alan is not Prince Andrew, but
11· ·big name.
12· · · · TONY LYONS:· But he's Epstein's lawyer, too.
13· · · · SHARON CHURCHER:· Exactly.· And --
14· · · · TONY LYONS:· So --
15· · · · SHARON CHURCHER:· -- also, von Bulow.
16· · · · TONY LYONS:· Yeah.
17· · · · SHARON CHURCHER:· He's a name in the mass market
18· ·--
19· · · · TONY LYONS:· Yeah.
20· · · · SHARON CHURCHER:· -- von Bulow case.· So yeah, I
21· ·think Brad Edwards and his team just made it up.· If I
22· ·were Alan, I wouldn't bother so much with it, but I
23· ·know it's pissing him off, isn't it?· I mean --
24· · · · TONY LYONS:· Well, I mean -- I mean, I think in
25· ·his case, he's had such a distinguished career.· He's


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·1· ·81 years old --
·2· · · · SHARON CHURCHER:· Is he 81?· No, Christ.
·3· · · · TONY LYONS:· So he doesn't want to --
·4· · · · SHARON CHURCHER:· (Inaudible).
·5· · · · TONY LYONS:· -- you know, it's like this is his
·6· ·legacy.· Like, he -- he doesn't want that to show up.
·7· ·I don't -- I don't think -- I mean, he didn't say
·8· ·this.· But I don't think that he wants to, you know,
·9· ·have this be part of his life story.
10· · · · SHARON CHURCHER:· She never --
11· · · · TONY LYONS:· Like after he dies.
12· · · · SHARON CHURCHER:· -- I have a whole list of
13· ·names, you know, and -- I mean, I was told to ask my
14· ·original sources to put him on the list and said, you
15· ·know, ask about these names.· Because law enforcement
16· ·had been after -- it's real absence of malice
17· ·(inaudible) story, you know.· The journalist gets set
18· ·up.
19· · · · TONY LYONS:· Yeah.
20· · · · SHARON CHURCHER:· And you know, I had a list of
21· ·names, easy peasy.
22· · · · TONY LYONS:· Yeah.
23· · · · SHARON CHURCHER:· To give her.· And photographs.
24· ·And, no, I mean, she never named Alan.· Doesn't mean
25· ·she -- doesn't mean she's made it up, but wouldn't you


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·1· ·name a famous lawyer?· I agree.
·2· · · · TONY LYONS:· Yeah.· Especially if she remembers
·3· ·in such detail later.
·4· · · · SHARON CHURCHER:· She -- the thing is, also, I
·5· ·agree with him.· I think she confused him with this
·6· ·other Harvard professor.· I think that too.· I think
·7· ·she confused him with someone else.
·8· · · · TONY LYONS:· So there's another Harvard professor
·9· ·who was --
10· · · · SHARON CHURCHER:· Oh, there was, yeah.
11· · · · TONY LYONS:· -- friends with Epstein?
12· · · · SHARON CHURCHER:· Alan said that, that it was
13· ·someone else --
14· · · · TONY LYONS:· Oh, okay.
15· · · · SHARON CHURCHER:· -- because when -- and also in
16· ·the unsealed (inaudible) my stuff.· Because what had
17· ·happened originally was I couldn't believe what she
18· ·did.· She subpoenaed me.· She had sued Ghislaine
19· ·Maxwell for liable.· Ghislaine said you're lying.· So
20· ·then the sex slave sues Ghislaine Maxwell's daughter.
21· ·And then she tries to subpoena all my files.· So
22· ·(inaudible) and the stuff you see coming out now is a
23· ·judge ordered them unsealed because I had to produce a
24· ·lot of stuff, but we produced it under seal.
25· · · · TONY LYONS:· Wow.


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·1· · · · SHARON CHURCHER:· So most of it's out there now,
·2· ·and Alan's name hasn't surfaced.· Some other
·3· ·distinguished ones have.
·4· · · · TONY LYONS:· Yeah, I mean, so the question for
·5· ·your book would be --
·6· · · · SHARON CHURCHER:· (Inaudible) small --
·7· · · · TONY LYONS:· But if it's a small book and you can
·8· ·say sort of like you were right in the middle of it,
·9· ·what are the rules, how do people bring things to --
10· ·to light, but then part of your platform is the fact
11· ·that you were in the middle of it.
12· · · · SHARON CHURCHER:· Oh, sure.· No, I agree.
13· · · · TONY LYONS:· And if somehow you could coordinate
14· ·with Alan because you say you agree with him anyway,
15· ·maybe -- I mean --
16· · · · SHARON CHURCHER:· Well, I don't know if we can
17· ·come out and say -- well, we can say the name wasn't
18· ·in my articles.
19· · · · TONY LYONS:· Yeah, yeah, yeah.
20· · · · SHARON CHURCHER:· I suspect by then Alan would
21· ·have had tried to get my files.· I don't know.· He's
22· ·said publicly he feels what's come out exonerated him.
23· ·And anyway, we're not talking about that case.· We're
24· ·talking about how to avoid being in the middle of such
25· ·a case.


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·1· · · · TONY LYONS:· Right, right.
·2· · · · SHARON CHURCHER:· Which is totally different.
·3· · · · TONY LYONS:· But -- but what we're talking about
·4· ·there is -- is -- is a possibility of a story that
·5· ·then launches it.· Like what -- what makes this
·6· ·different.· Because most of it is -- it's relatively
·7· ·simple stuff, right?· Like the stuff that you can't
·8· ·do.· And I would say it should be really short.· Like
·9· ·96 pages on kind of nice paper with rounded edges.
10· ·This is like a handbook like how do you navigate --
11· · · · SHARON CHURCHER:· (Inaudible) carry in the
12· ·falling rain, it won't get wet.
13· · · · TONY LYONS:· Yeah, and then sort of like --
14· · · · SHARON CHURCHER:· So it's a social roadmap,
15· ·really.
16· · · · TONY LYONS:· But also like you were saying, like,
17· ·I don't -- I don't know what that app is, but you
18· ·know, there are probably going to be more and more.
19· · · · SHARON CHURCHER:· There's the dating app.
20· ·There's a company that's set up now to give companies,
21· ·you know, sort of the A to Z of -- of fraternizing,
22· ·it's called in the workplace.
23· · · · TONY LYONS:· Yeah.
24· · · · SHARON CHURCHER:· What is and isn't appropriate.
25· · · · TONY LYONS:· But that could be part of it.


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·1· · · · SHARON CHURCHER:· Also, my husband -- he's a
·2· ·safety consultant for huge engineering companies, and
·3· ·he showed me an OSHA -- you know, what that is, the
·4· ·government agency --
·5· · · · TONY LYONS:· Yeah, yeah, yeah.
·6· · · · SHARON CHURCHER:· -- website.· It's hysterical,
·7· ·some of the stuff on that.· It's even government
·8· ·regulations, which would (inaudible) no copyright on
·9· ·government stuff.· You just --
10· · · · TONY LYONS:· Yeah, I know.· That's all fine.
11· · · · SHARON CHURCHER:· Oh, yeah.· So it's -- I mean,
12· ·the other thing --
13· · · · TONY LYONS:· It's OSHA.
14· · · · SHARON CHURCHER:· -- he wanted to make money off
15· ·Me Too.· I think there should be a little section on
16· ·how to make money off it.· I mean, I think it's a huge
17· ·business opportunity, seriously, isn't it.
18· · · · TONY LYONS:· So like --
19· · · · SHARON CHURCHER:· Because of that dating app.
20· · · · TONY LYONS:· -- consulting.
21· · · · SHARON CHURCHER:· Consulting.· Your law firm
22· ·branches out, like, you know, the sex slaves -- David
23· ·Boies who used to be this -- I'm sure you've heard
24· ·about him from Alan.
25· · · · TONY LYONS:· Yeah.· I mean, David --


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·1· · · · SHARON CHURCHER:· He used to be this respectful
·2· ·lawyer.· He's gone into business now with Brad
·3· ·Edwards, the sex slave's lawyer.
·4· · · · TONY LYONS:· Who is -- yeah.
·5· · · · SHARON CHURCHER:· And what they're doing is --
·6· · · · TONY LYONS:· But wasn't Boies like this --
·7· · · · SHARON CHURCHER:· High --
·8· · · · TONY LYONS:· -- incredible --
·9· · · · SHARON CHURCHER:· -- Clinton.
10· · · · TONY LYONS:· Yeah.
11· · · · SHARON CHURCHER:· He was -- and we all respected
12· ·so much.· We were afraid to talk to him.· He was so
13· ·upstanding.· ·And now they've got --
14· · · · TONY LYONS:· So why did he --
15· · · · SHARON CHURCHER:· -- like these 800 or maybe 877
16· ·numbers where you can call him up and say, my God, I
17· ·just remembered --
18· · · · TONY LYONS:· Why did he do that, though?· Does he
19· ·need the money?
20· · · · SHARON CHURCHER:· (Inaudible) money.
21· · · · TONY LYONS:· Boies must be really wealthy, right?
22· · · · SHARON CHURCHER:· I know, but if you can make
23· ·more money in New York City -- in New York City for
24· ·Christ's sake.
25· · · · TONY LYONS:· Does he live here?


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·1· · · · SHARON CHURCHER:· I assume he does.
·2· · · · TONY LYONS:· Boies?
·3· · · · SHARON CHURCHER:· He's based here.
·4· · · · TONY LYONS:· I don't know.
·5· · · · SHARON CHURCHER:· No, he's based here.· And as I
·6· ·say, he was really upstanding, and I know a lawyer who
·7· ·knows him, and they're all just flabbergasted he's
·8· ·doing --
·9· · · · TONY LYONS:· I had always thought of him as this,
10· ·you know, famous, really upstanding sort of almost
11· ·snooty, you know, because he was so upstanding.· And
12· ·then -- so it doesn't -- it doesn't seem to make any
13· ·sense that he would have --
14· · · · SHARON CHURCHER:· Again, it's -- it's money.                      I
15· ·mean, and also these lawyers, remember, they do
16· ·everything on contingency.
17· · · · TONY LYONS:· Right.
18· · · · SHARON CHURCHER:· So why you -- where we all
19· ·think they're making money -- I suppose David's worked
20· ·for human rights and stuff where he didn't make much
21· ·money.
22· · · · TONY LYONS:· No.
23· · · · SHARON CHURCHER:· And they all have these
24· ·fantastic offices, as you know.· I mean --
25· · · · TONY LYONS:· Maybe he has some big expenses we


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·1· ·don't know about.
·2· · · · SHARON CHURCHER:· Yeah.· But definitely, I was
·3· ·absolutely astounded because I wanted to call Brad
·4· ·Edwards, and his number had changed.· And when I
·5· ·looked online, I was Edwards Boies or Boies Edwards.
·6· ·I couldn't believe it.· You know, they're all getting
·7· ·into it.· It's a huge -- well, you heard the ads on
·8· ·the radio.· ·Do you ever --
·9· · · · TONY LYONS:· No.
10· · · · SHARON CHURCHER:· -- when you drive -- I live in
11· ·the suburbs --
12· · · · TONY LYONS:· I don't drive at all.
13· · · · SHARON CHURCHER:· And there's all these ads now,
14· ·you know.· There's a one year in which you can say you
15· ·just remembered you were abused, you know.
16· · · · TONY LYONS:· Yeah.
17· · · · SHARON CHURCHER:· Call us.· And they're about
18· ·every half-hour on W --
19· · · · TONY LYONS:· But there are all kinds of things
20· ·like -- like this.· My friend is a -- is a patent,
21· ·trademark, and copyright lawyer at a -- at a big law
22· ·firm.· And he got a call from a client who he does all
23· ·their work for, and -- and that client got a call from
24· ·somebody who -- from a law firm that goes after people
25· ·for going on porn websites, right?


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·1· · · · SHARON CHURCHER:· Okay.
·2· · · · TONY LYONS:· So they're basically threatening to
·3· ·shame people.
·4· · · · SHARON CHURCHER:· How do they find out?
·5· · · · TONY LYONS:· And they -- there's some sort of
·6· ·like technology that they have now where they can
·7· ·pinpoint with -- using the IP address --
·8· · · · SHARON CHURCHER:· Wow.
·9· · · · TONY LYONS:· -- so they can find --
10· · · · SHARON CHURCHER:· Wow.
11· · · · TONY LYONS:· -- out what the actual person was
12· ·looking at and it's certain, like, software.
13· · · · SHARON CHURCHER:· Wow.· So technology can track -
14· ·-
15· · · · TONY LYONS:· He can give us details about that.
16· · · · SHARON CHURCHER:· Yeah.
17· · · · TONY LYONS:· So -- so what he said was that this
18· ·guy's really, really wealthy.· He said they pick -- so
19· ·they find out, you know, a whole bunch of people.
20· ·Because there are probably millions of people going to
21· ·these kinds of sites, right?· And they're not even
22· ·accusing them of anything bad, really.· They're just
23· ·accusing them in a way that they're threatened to be
24· ·outed in some --
25· · · · SHARON CHURCHER:· Wow.


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·1· · · · TONY LYONS:· -- sort of a shameful way.· And --
·2· · · · SHARON CHURCHER:· That is so (inaudible).
·3· · · · TONY LYONS:· -- they try to get them to pay a
·4· ·small amount of -- you know, relatively small amount
·5· ·of money.
·6· · · · (Overlapping voices)
·7· · · · TONY LYONS:· Right.· So it's like $10,000 or
·8· ·something, and then you're out of it.
·9· · · · SHARON CHURCHER:· What are they going to do
10· ·(inaudible)?
11· · · · TONY LYONS:· But if they do it thousands of
12· ·times, nobody's going to -- right.· And it's not
13· ·technically blackmail because they actually did go to
14· ·that site and you know, there's something wrong with
15· ·it.· I don't know.
16· · · · SHARON CHURCHER:· Child porn or something, you
17· ·see it is, but -- there's a lot of stuff that is
18· ·illegal to access.
19· · · · TONY LYONS:· Yeah, yeah.· So I'm not exactly sure
20· ·what the story is, but we could get that --
21· · · · SHARON CHURCHER:· But the fact they've made -- I
22· ·like that.· I think that's (inaudible) --
23· · · · TONY LYONS:· We could definitely get that.
24· ·Because he is representing somebody.
25· · · · SHARON CHURCHER:· So basically, your life is


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·1· ·going to have to become pretty circumscribed, isn't
·2· ·it?
·3· · · · TONY LYONS:· Yeah.
·4· · · · SHARON CHURCHER:· I mean, the dating thing is
·5· ·fascinating, isn't it?· How on earth do you ask
·6· ·somebody out?· How on earth?
·7· · · · TONY LYONS:· Yeah.
·8· · · · SHARON CHURCHER:· There was a famous piece, Tony,
·9· ·if (inaudible) about some poor actor.· And this woman
10· ·wrote a whole piece about how she went out for a date
11· ·with him, and it was the ultimate Me Too piece because
12· ·he chose the wine.· He didn't ask her what wine she
13· ·wanted.· And then when she said she'd go back to his
14· ·apartment, she did take her clothes off, but she
15· ·didn't want to have sex.· And she wrote this entire
16· ·piece about this.· And it was taken up by (inaudible)
17· ·as an example of bad male behavior.
18· · · · TONY LYONS:· Right.
19· · · · SHARON CHURCHER:· It became -- it was one of the
20· ·first pieces that someone wrote.
21· · · · TONY LYONS:· Yeah.
22· · · · SHARON CHURCHER:· So it starts at the beginning
23· ·that you don't say, Sharon, this looks like a nice
24· ·wine.
25· · · · TONY LYONS:· Right.


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·1· · · · SHARON CHURCHER:· Apparently that's immediately
·2· ·you're asserting power.
·3· · · · TONY LYONS:· Right.
·4· · · · SHARON CHURCHER:· Over the person.
·5· · · · TONY LYONS:· There's not supposed to be any undue
·6· ·influence.
·7· · · · SHARON CHURCHER:· But I like the idea of how do
·8· ·you go on with what's always go on on the casting
·9· ·couch because so many people have made their way in
10· ·Hollywood and the arts and everywhere, right?· And I'm
11· ·sure in big companies too.· So how do you negotiate
12· ·that one if you do actually want to offer yourself up?
13· · · · TONY LYONS:· Yeah.
14· · · · SHARON CHURCHER:· To your boss.
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· I think there should be
17· ·something on that.
18· · · · TONY LYONS:· Sure, right.· You can sort of come
19· ·up with a document, and you're like --
20· · · · SHARON CHURCHER:· You document --
21· · · · TONY LYONS:· -- okay, this is signed.
22· · · · SHARON CHURCHER:· Okay, I'm having sex with you,
23· ·and then next day, you're going to make me whatever,
24· ·right?
25· · · · TONY LYONS:· Right, right, right.


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·1· · · · SHARON CHURCHER:· Actually, it's a good way to do
·2· ·it because at least it's spelled out.
·3· · · · TONY LYONS:· It's an actual deal.
·4· · · · SHARON CHURCHER:· It's a real deal, right.
·5· · · · TONY LYONS:· But then again --
·6· · · · SHARON CHURCHER:· (Inaudible).
·7· · · · TONY LYONS:· -- but lots of these people made
·8· ·deals, and then they just go back on the deal because
·9· ·they get a better offer.
10· · · · SHARON CHURCHER:· (Inaudible).
11· · · · TONY LYONS:· It doesn't seem like courts are
12· ·really holding people to those kinds of deals.
13· · · · SHARON CHURCHER:· I think it's a nice idea if you
14· ·think you can make any money.
15· · · · TONY LYONS:· I think it would be something new.
16· ·Like --
17· · · · SHARON CHURCHER:· I think it might get some
18· ·attention in the media.
19· · · · TONY LYONS:· -- it would be -- be a story.
20· · · · SHARON CHURCHER:· I think it's a story, too,
21· ·yeah, I agree with you, and I -- I have no reason to
22· ·believe that he raped the sex slave.· Let's put it
23· ·that way.
24· · · · TONY LYONS:· Right.· But the --
25· · · · SHARON CHURCHER:· (Inaudible).


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·1· · · · TONY LYONS:· -- so the -- the connection between
·2· ·you and Epstein and that story then becomes sort of
·3· ·like a launch of -- of -- of this book.
·4· · · · SHARON CHURCHER:· Yeah, no.· I think it's
·5· ·perfect.· I agree with you.
·6· · · · TONY LYONS:· But the question there is what can
·7· ·you say and what can you not say?· Like, what --
·8· ·what's holding you back from sort of --
·9· · · · SHARON CHURCHER:· Oh, I see.· We'd have to just
10· ·find out, get legal advice.· I think that the only
11· ·danger, if I say -- well, I don't know if he didn't
12· ·have sex her, remember.
13· · · · TONY LYONS:· Right, right, right.
14· · · · SHARON CHURCHER:· Even though she never told me
15· ·he did.
16· · · · TONY LYONS:· Right, right, right.
17· · · · SHARON CHURCHER:· And I see no reason -- I think
18· ·my only --
19· · · · TONY LYONS:· But nobody ever knows about other
20· ·people.
21· · · · SHARON CHURCHER:· I think my lawyer, Laura
22· ·Hammond, who he probably knows, anyway -- they all
23· ·know each other -- I think she's actually said
24· ·publicly that she never told Sharon that she had sex
25· ·with Dershowitz.· I think she said that in public.


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·1· · · · TONY LYONS:· Okay.
·2· · · · SHARON CHURCHER:· So --
·3· · · · TONY LYONS:· I thought I even read that
·4· ·somewhere.
·5· · · · SHARON CHURCHER:· I've read it, yeah.· I've just
·6· ·been told right now not to comment, just because
·7· ·everything was under seal.· But now it's not sealed.
·8· · · · TONY LYONS:· Yeah.
·9· · · · SHARON CHURCHER:· You know.· No, I mean, you
10· ·know, I just -- but at the same time, it raises the
11· ·whole issue, doesn't it, of how the hell do you sit
12· ·around pretty women and not get accused of having sex
13· ·with them and the other way around.· I mean, it is a
14· ·problem for guys, obviously.
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· I mean, more for men.· You know
17· ·that women are not getting hired, of course, too.
18· · · · TONY LYONS:· Not getting hired?
19· · · · SHARON CHURCHER:· Companies are hiring men, not
20· ·women.
21· · · · TONY LYONS:· Why?
22· · · · SHARON CHURCHER:· Under advice.· Women can cause
23· ·a lot of trouble now.
24· · · · TONY LYONS:· Wow.
25· · · · SHARON CHURCHER:· So I mean, hiring practices


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·1· ·have really changed.· But, no --
·2· · · · TONY LYONS:· That's definitely not true in the --
·3· · · · SHARON CHURCHER:· -- (inaudible) because I think
·4· ·the whole thing is just -- as I said to you, I -- I
·5· ·have -- I just don't -- this whole movement is just
·6· ·absurd, and I think to do something but not satire is
·7· ·a good idea.· It is sort of edgy.
·8· · · · TONY LYONS:· I think it's just too --
·9· · · · SHARON CHURCHER:· But would it --
10· · · · TONY LYONS:· -- too scary to try to do satire.
11· · · · SHARON CHURCHER:· But it's not scary.· It is an
12· ·edgy idea for a book.
13· · · · TONY LYONS:· Right, right, right.· No, this --
14· · · · SHARON CHURCHER:· Because a lot of the things
15· ·people are going to have to do to stay safe are
16· ·totally absurd.
17· · · · TONY LYONS:· Yeah.
18· · · · SHARON CHURCHER:· I mean, but that is what has
19· ·been brought down on this.
20· · · · TONY LYONS:· Yeah, it's sort of like -- but then
21· ·again, I mean, anybody can accuse anybody of stuff
22· ·that happened --
23· · · · SHARON CHURCHER:· Until you don't have to say
24· ·anything.· All you have to do is just post it on
25· ·social media, don't you?


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·1· · · · TONY LYONS:· Yeah.
·2· · · · SHARON CHURCHER:· I know.· That's all you do.
·3· · · · TONY LYONS:· Yeah.· So there's got to be --
·4· · · · SHARON CHURCHER:· Striking back, of course, there
·5· ·is liable.
·6· · · · TONY LYONS:· Yeah.
·7· · · · SHARON CHURCHER:· You know.· And it's surprising
·8· ·at this stage (inaudible) isn't it?
·9· · · · TONY LYONS:· Yeah.
10· · · · SHARON CHURCHER:· And it's --
11· · · · TONY LYONS:· Although, I guess it's sort of like
12· ·-- it just costs a lot of money (inaudible).
13· · · · SHARON CHURCHER:· Unless you can't -- (inaudible)
14· ·prove anything.· It's like recovered memory, isn't it?
15· ·Oh, all of a sudden, I remember --
16· · · · TONY LYONS:· Yeah.
17· · · · SHARON CHURCHER:· -- that this happened to me
18· ·too.
19· · · · TONY LYONS:· Yeah.
20· · · · SHARON CHURCHER:· It was --
21· · · · TONY LYONS:· But there's also sort of like --
22· ·like a lot of people in -- on college campuses for,
23· ·you know, the last -- you know, probably for all of
24· ·time would get drunk and not even remember what they
25· ·did.


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·1· · · · SHARON CHURCHER:· I know.· Did you see --
·2· · · · TONY LYONS:· So people can't even really say that
·3· ·they didn't do something in college in a lot of cases.
·4· · · · SHARON CHURCHER:· But that's why I said -- I
·5· ·think one thing we should do -- I'm sure there's
·6· ·people will do it.· The companies investigate
·7· ·politicians.· If you really are about to do an IPO or
·8· ·something where it's very important that you don't get
·9· ·embarrassed -- or you're about to get married, even,
10· ·you know, just have someone investigate your own past.
11· · · · TONY LYONS:· Yeah.
12· · · · SHARON CHURCHER:· Just to make sure.
13· · · · TONY LYONS:· And also --
14· · · · SHARON CHURCHER:· (Inaudible) -- sorry, make
15· ·amends appropriately.
16· · · · TONY LYONS:· But also take like a lie detector
17· ·test and --
18· · · · SHARON CHURCHER:· Yeah, of course.· I like that,
19· ·actually, yes.
20· · · · TONY LYONS:· Sort of like what is -- what is your
21· ·line of defense?· You take a test to prove that you're
22· ·being honest.· You make an affirmative statement that,
23· ·to the best of your knowledge, you know, that there
24· ·were drunken nights that you don't recall, but to the
25· ·best of your knowledge, you have never done any of the


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·1· ·following things.· It could be a list.
·2· · · · SHARON CHURCHER:· You know it would annoy people,
·3· ·don't you?
·4· · · · TONY LYONS:· I think that it's not necessarily a
·5· ·bad time to have that kind of book come out.
·6· · · · SHARON CHURCHER:· As I said from the beginning
·7· ·when I first heard about it just really -- I would
·8· ·like to do something.· I just --
·9· · · · TONY LYONS:· Because it has, you know -- it is
10· ·sort of -- I mean, Alan's right in the sense that it
11· ·can't be okay that you can just accuse somebody
12· ·without a shred of proof.
13· · · · SHARON CHURCHER:· No, of course.
14· · · · TONY LYONS:· And you can change their whole life.
15· · · · SHARON CHURCHER:· I know.· It can't be.
16· ·Unfortunately, it is.· I mean, the only defense is,
17· ·you know, the courts.· There is nothing one can do
18· ·about that, unfortunately.
19· · · · TONY LYONS:· Yeah.
20· · · · SHARON CHURCHER:· Because right now, it makes you
21· ·a hero if you do it.
22· · · · TONY LYONS:· If you come out and you talk about
23· ·it.
24· · · · SHARON CHURCHER:· I know.· That's --
25· ·unfortunately, that's the way it is.· But that's why


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·1· ·taking it on is the thing to do, I think, because --
·2· · · · TONY LYONS:· But then also maybe there's a
·3· ·section in the book about, you know, steps you would
·4· ·take if you had been accused.
·5· · · · SHARON CHURCHER:· Actually, that's not a bad
·6· ·idea.· (Inaudible).
·7· · · · TONY LYONS:· So what are the steps?· Like we
·8· ·said, maybe that's like -- I mean, it would be better
·9· ·to do it preemptively.· Maybe there would be -- I
10· ·mean, it's possible that there would be services, like
11· ·you said, that would come up where they would check
12· ·your background.· You would -- you would take all
13· ·kinds of tests --
14· · · · SHARON CHURCHER:· There definitely are.· And I
15· ·read it during the last presidential -- or the one
16· ·before -- campaign.· One of the candidates had done
17· ·it.· (Inaudible).
18· · · · TONY LYONS:· Because you wouldn't want to --
19· ·nobody would want to give money to a candidate if
20· ·there's long-hanging fruit there.· So you would want
21· ·to have --
22· · · · SHARON CHURCHER:· (Inaudible) I forget which
23· ·candidate it was.· But I remember Politico or
24· ·something, one of their reporters had done a book, and
25· ·in the footnotes, there's this reference to this


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·1· ·person, whichever candidate it was --
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· -- having himself investigated.
·4· · · · TONY LYONS:· Yeah.· I mean, wouldn't Biden want
·5· ·to know if there's any possibility that somebody's
·6· ·going to come out of the woodwork, and wouldn't people
·7· ·who are going to back him and fund him, wouldn't the
·8· ·Democratic party want --
·9· · · · SHARON CHURCHER:· (Inaudible) they are doing it.
10· ·(Inaudible).· Ordinary people aren't doing it.
11· · · · TONY LYONS:· Right.
12· · · · SHARON CHURCHER:· You and me --
13· · · · TONY LYONS:· They would -- they would have to do
14· ·it because they don't want to have all their eggs in
15· ·that basket --
16· · · · SHARON CHURCHER:· Oh, exactly.
17· · · · TONY LYONS:· -- if it's going to go to hell.
18· · · · SHARON CHURCHER:· No, it's pretty common.· What
19· ·it used to just be was the -- you know, the
20· ·(inaudible) rival, but now they're sort of doing it to
21· ·themselves to see if they're vulnerable.
22· · · · TONY LYONS:· Yeah.
23· · · · SHARON CHURCHER:· And I can ferret one or two
24· ·people who would know how that would work.
25· · · · TONY LYONS:· Okay, why don't we get a couple of


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·1· ·other people in here?· I want to ask a woman here who
·2· ·would probably work on it because I don't think we
·3· ·would want a guy to edit a book like this.
·4· · · · SHARON CHURCHER:· Why?
·5· · · · TONY LYONS:· I just think -- I think we even want
·6· ·to --
·7· · · · SHARON CHURCHER:· I think you should do both.
·8· · · · TONY LYONS:· Oh, you mean on the authorship side.
·9· ·Oh --
10· · · · SHARON CHURCHER:· No, no, even on the editing --
11· · · · TONY LYONS:· Oh the editorial side, okay.
12· · · · SHARON CHURCHER:· I really do, actually, because
13· ·otherwise, you get -- I don't think you want to get
14· ·stuck in (inaudible).
15· · · · TONY LYONS:· Let me think of a couple of people.
16· · · · SHARON CHURCHER:· (Inaudible).
17· · · · HECTOR:· (Inaudible).
18· · · · TONY LYONS:· Hector, can you stop in for a
19· ·second?
20· · · · HECTOR:· Sure.
21· · · · TONY LYONS:· Thanks a lot.
22· · · · SHARON CHURCHER:· (Inaudible) Alan would do it.
23· ·Because I from the beginning --
24· · · · TONY LYONS:· I have -- I have no idea whether he
25· ·would.


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·1· · · · SHARON CHURCHER:· It would be fantastic.
·2· · · · TONY LYONS:· Maybe if he wrote like the
·3· ·introduction.· Like, it would only be three pages or
·4· ·something.· I mean, that would be enough that the two
·5· ·of you could get on --
·6· · · · SHARON CHURCHER:· Like, it would.
·7· · · · TONY LYONS:· -- a TV show.
·8· · · · SHARON CHURCHER:· Yeah, I think it would make
·9· ·perfect --
10· · · · TONY LYONS:· Because that would make a story.
11· · · · SHARON CHURCHER:· -- idea.· Perfect.
12· · · · TONY LYONS:· That would really be --
13· · · · SHARON CHURCHER:· I'd love to do it.· I think -
14· · · · TONY LYONS:· But that would be a national story,
15· ·wouldn't it?
16· · · · SHARON CHURCHER:· To make this -- oh, yeah.· And
17· ·to make this work, you do need a name.· I said to you,
18· ·well, what about Richard Johnson.· No, that doesn't
19· ·really work.· You need something very --
20· · · · REBECCA:· Hey.
21· · · · TONY LYONS:· Hey, can you stop in for a second?
22· · · · REBECCA:· Yeah, of course.
23· · · · SHARON CHURCHER:· Yeah, because that way, we've
24· ·got the victim and the prosecutor, as it were.
25· · · · TONY LYONS:· Yeah.


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·1· · · · SHARON CHURCHER:· Though I never went after Alan,
·2· ·as I said.
·3· · · · TONY LYONS:· Right.
·4· · · · SHARON CHURCHER:· All I can say is his name is
·5· ·not in my stories.
·6· · · · TONY LYONS:· Yeah.· I mean, it would be -- yeah.
·7· ·It would be good, maybe, even to have somebody who was
·8· ·a victim write like an afterword or something.
·9· · · · SHARON CHURCHER:· I suppose you could do that.
10· · · · TONY LYONS:· You know, because then, you've got a
11· ·victim -- you've got somebody who is accused, and then
12· ·you've got you being kind of in the middle.
13· · · · Rebecca, this is Sharon.
14· · · · SHARON CHURCHER:· Rebecca, hi.· Nice to meet you.
15· · · · REBECCA:· So nice to meet you.
16· · · · TONY LYONS:· And this is Hector.
17· · · · HECTOR:· Hello, Sharon.· Good to me.
18· · · · TONY LYONS:· Hector, sit down.
19· · · · SHARON CHURCHER:· (Inaudible).
20· · · · (Overlapping voices)
21· · · · TONY LYONS:· Yeah, so we're kind of thinking of a
22· ·-- of a Me Too handbook of how to act.
23· · · · REBECCA:· Okay.
24· · · · TONY LYONS:· Really small.· That would tell you
25· ·sort of all the things you would need to know, and it


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·1· ·would also tell about some of the -- like there's a
·2· ·new technology Sharon was just telling me about that -
·3· ·- that is a consent technology.
·4· · · · SHARON CHURCHER:· It's an app.
·5· · · · TONY LYONS:· It's an app?
·6· · · · SHARON CHURCHER:· It's a dating app that someone
·7· ·-- I don't think it's on the market yet, but I found
·8· ·it online.· It's -- yeah, you consent to everything.
·9· ·You've got to be pretty --
10· · · · TONY LYONS:· You better be pretty sure if you do
11· ·that --
12· · · · SHARON CHURCHER:· They can change their mind in
13· ·the app.
14· · · · TONY LYONS:· There could be all kinds of crazy
15· ·liability problems.· Like what if you click consent
16· ·and then somebody, as soon as you click that, they
17· ·totally change.
18· · · · SHARON CHURCHER:· I know.
19· · · · TONY LYONS:· Three seconds later, right?
20· · · · SHARON CHURCHER:· We're not saying it isn't.
21· · · · TONY LYONS:· Yeah, yeah, yeah.
22· · · · HECTOR:· Is that released already to the general
23· ·public?
24· · · · SHARON CHURCHER:· It's -- no, I found it online -
25· ·-


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·1· · · · HECTOR:· I can see that at universities.
·2· · · · SHARON CHURCHER:· It may be a Swedish developer.
·3· ·I'm not sure.· But it's -- there was a piece I found -
·4· ·- because I sort of just Googled how is dating
·5· ·changing in the age of Me Too.· Out popped this piece
·6· ·on a website.· And it talked about the app and had a
·7· ·link through to it.· It was either Sweden or somewhere
·8· ·that it was going to be released in this country,
·9· ·supposedly.· Yep, it's here.
10· · · · REBECCA:· (Inaudible).
11· · · · SHARON CHURCHER:· And then Tony raised the fact,
12· ·by the way, that everything you do can be monitored,
13· ·including your online activity.
14· · · · TONY LYONS:· Yeah.
15· · · · SHARON CHURCHER:· He knows a law firm that uses
16· ·that technology to go out and (inaudible) a few
17· ·clients.
18· · · · TONY LYONS:· Yeah.· So -- no, no, no, what
19· ·they're actually doing is --
20· · · · SHARON CHURCHER:· IP addresses.
21· · · · TONY LYONS:· -- it's this -- it's some company
22· ·that is connected to porn sites.· And they're going
23· ·after really wealthy people by tracking their IP
24· ·addresses, finding out that they've been on these, you
25· ·know, kind of like pretty out-there porn sites.· And


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·1· ·then basically extorting them but doing it legally.
·2· ·So basically saying -- I mean, I'm not even sure how
·3· ·they're doing it.· But my friend has a client and --
·4· · · · ·REBECCA:· Wow, yeah.
·5· · · · TONY LYONS:· -- so he can actually come in here
·6· ·and he can tell us that story.· It's Jonathan.
·7· · · · HECTOR:· Jonathan, yeah.
·8· · · · SHARON CHURCHER:· We could have a section, you
·9· ·know, profiting from Me Too, you know, how to make
10· ·money, you know.
11· · · · TONY LYONS:· Right.· Because somebody can be
12· ·totally shamed.· So even if it's -- I mean, I don't --
13· ·I don't know what the sites are, specifically.· So
14· ·maybe they are really bad sites.· But theoretically
15· ·speaking --
16· · · · (Overlapping voices)
17· · · · SHARON CHURCHER:· (Inaudible) we're not judging
18· ·people.
19· · · · TONY LYONS:· But theoretically speaking, it could
20· ·be, you know, the head of a big corporation, and he
21· ·goes to some -- he or she goes to some softcore porn
22· ·site, and it's not all that big a deal.· But if that
23· ·story came out and was in -- in the New York Post,
24· ·it's sort of like hurts the company, like the $10-
25· ·billion company is then worth $8 billion the next day.


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·1· · · · (Overlapping voices)
·2· · · · TONY LYONS:· So I'm going to pay $25,000 to have
·3· ·that not happen.
·4· · · · SHARON CHURCHER:· (Inaudible) all those names
·5· ·would -- people who went to Ashley Madison, I think it
·6· ·was called, the dating site.
·7· · · · TONY LYONS:· Right, right.
·8· · · · REBECCA:· They leaked all of those, yeah.
·9· · · · SHARON CHURCHER:· And I notice now that there's
10· ·companies begun to advertise tours to meet ladies in
11· ·Ukraine.· So if you Google how to date in the age of
12· ·Me Too, there's one or two companies now they're
13· ·offering offshore --
14· · · · TONY LYONS:· There's like so much stuff happens
15· ·in the Ukraine.· All the scandals take place there.
16· · · · REBECCA:· All coming out, yeah.
17· · · · SHARON CHURCHER:· It's all coming out now.
18· ·Ladies (inaudible) I don't know.
19· · · · REBECCA:· It's very interesting.
20· · · · HECTOR:· It's (inaudible).
21· · · · SHARON CHURCHER:· So Tony was just thinking with
22· ·the Alan Dershowitz -- sort of got him to do a preface
23· ·to it all.
24· · · · TONY LYONS:· I mean, it would just be wild --
25· · · · SHARON CHURCHER:· Because (inaudible) Epstein


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·1· ·thing.
·2· · · · REBECCA:· Yeah.
·3· · · · TONY LYONS:· It would be wild to the extent that
·4· ·it would be newsworthy, right?
·5· · · · SHARON CHURCHER:· Yeah, and also, it's legit.
·6· · · · TONY LYONS:· Yeah.
·7· · · · SHARON CHURCHER:· Because I told him Alan and I
·8· ·both worked for, all of people, Bob Guccione, though
·9· ·respectfully, we used to say.· We were the respectful
10· ·face of porn.
11· · · · REBECCA:· Yeah, yeah, yeah.
12· · · · SHARON CHURCHER:· I had an investigative column,
13· ·and I forget what Alan wrote about.
14· · · · TONY LYONS:· So he was actually writing?
15· · · · SHARON CHURCHER:· Yeah, Alan did a column there.
16· ·Yeah.
17· · · · TONY LYONS:· Wow.
18· · · · SHARON CHURCHER:· That's when I met him years
19· ·ago.
20· · · · TONY LYONS:· I didn't know that.
21· · · · SHARON CHURCHER:· Guccione used to -- actually,
22· ·he was a great mentor to journalists.· I mean, you
23· ·know, he -- the porn was on one side of his stuff.
24· · · · TONY LYONS:· Yeah, yeah.
25· · · · SHARON CHURCHER:· That was the trouble


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·1· ·(inaudible) articles.
·2· · · · HECTOR:· He was a maverick, Bob Guccione.
·3· · · · SHARON CHURCHER:· He was a maverick.· He was
·4· ·great, though.· He was -- because the thing was, he
·5· ·didn't mind about lawsuits.· Really, if you've got a
·6· ·story, run with it.· And I forget what Alan -- Alan
·7· ·did a monthly column.· So -- and I was telling Tony I
·8· ·have no qualms because in my stories about all of
·9· ·this, she named all sorts of people, but she didn't
10· ·name Alan.· And my lawyer said that publicly.
11· · · · TONY LYONS:· Yeah.
12· · · · SHARON CHURCHER:· So --
13· · · · TONY LYONS:· And the then, the question is why
14· ·would she have not named Alan, like, if it was --
15· · · · SHARON CHURCHER:· Oh, I think you know.
16· · · · TONY LYONS:· -- if it was part of the story, she
17· ·would have named him.
18· · · · SHARON CHURCHER:· She named everybody else, but,
19· ·I mean, that's to not say that she (inaudible), she
20· ·didn't know (inaudible) Senator George Mitchell.
21· ·That's come out now that you unseal these documents.
22· · · · TONY LYONS:· Yeah.
23· · · · REBECCA:· Yeah.
24· · · · SHARON CHURCHER:· It is an incredible operation,
25· ·actually.


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·1· · · · SHARON CHURCHER:· Because I think she's
·2· ·blackmailing --
·3· · · · TONY LYONS:· It's crazy.
·4· · · · SHARON CHURCHER:· -- everyone of course.· That's
·5· ·why Epstein --
·6· · · · TONY LYONS:· So you think that's where all the
·7· ·money came from?
·8· · · · SHARON CHURCHER:· I don't know.· I've never been
·9· ·able to prove it, but we -- we do know for sure that
10· ·everything was videotaped.· And if you look at some of
11· ·the people, I mean, she even said that.· He was
12· ·collecting information.· But that's -- (inaudible)
13· ·Wall Street.
14· · · · TONY LYONS:· So where are all those videotapes
15· ·now?
16· · · · SHARON CHURCHER:· FBI, and then, the Palm Beach
17· ·Police had some of them.· But the FBI, presumably, got
18· ·some of them.
19· · · · TONY LYONS:· And the FBI is --
20· · · · SHARON CHURCHER:· Because remember they raided
21· ·his place.
22· · · · TONY LYONS:· -- deep sixing them all?
23· · · · SHARON CHURCHER:· Probably.· Given who --
24· · · · HECTOR:· Or they're waiting for a new Hoover to
25· ·take --


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·1· · · · SHARON CHURCHER:· She's changed her story about
·2· ·Trump, too.· It's interesting because I've written
·3· ·what she told me about Trump.· She's now saying she
·4· ·never said it, so Trump's obviously been on to her
·5· ·because she told me she'd lie around half naked at
·6· ·Mara Lago, and he say to Jeffrey, you have the life.
·7· ·Trump would.· And that was a very distinct quote.                      I
·8· ·always remembered it.· We ran it, and she (inaudible)
·9· ·me at the time, but now, she's saying she never said
10· ·it.
11· · · · TONY LYONS:· Right.
12· · · · REBECCA:· (Inaudible), yeah.
13· · · · SHARON CHURCHER:· Yeah, I guess, if he's
14· ·referenced to whatever.· Yeah, I guess he's -- so.
15· · · · TONY LYONS:· But you were -- you were saying,
16· ·too, that you don't ever use the word pedo so that
17· ·that's --
18· · · · SHARON CHURCHER:· No, I know, I --
19· · · · TONY LYONS:· -- probably --
20· · · · SHARON CHURCHER:· -- I mean, maybe I had had too
21· ·much to drink that night.· You know, I have no idea.
22· · · · TONY LYONS:· Yeah, it's hard to tell.
23· · · · SHARON CHURCHER:· I don't know, I mean --
24· · · · TONY LYONS:· It's always hard to remember things,
25· ·too, but --


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·1· · · · SHARON CHURCHER:· I don't -- that's a weird word
·2· ·to me.
·3· · · · TONY LYONS:· Yeah, I would never use that.
·4· · · · SHARON CHURCHER:· I've never heard the word, and
·5· ·I --
·6· · · · TONY LYONS:· I mean, I've -- I mean, I've heard
·7· ·it recently, but --
·8· · · · SHARON CHURCHER:· Or -- or --
·9· · · · TONY LYONS:· -- I would never have said pedo.
10· · · · SHARON CHURCHER:· -- (inaudible) it's just, yeah,
11· ·yeah, I don't remember speaking like that, so you know
12· ·--
13· · · · TONY LYONS:· Yeah.
14· · · · SHARON CHURCHER:· Who knows, maybe (inaudible)
15· ·around or something.
16· · · · TONY LYONS:· Yeah, yeah.
17· · · · SHARON CHURCHER:· And then picked it up from her.
18· · · · TONY LYONS:· Yeah.· But also, you were -- you
19· ·were being a journalist.· You were trying to get a
20· ·story, and some --
21· · · · SHARON CHURCHER:· Yeah.
22· · · · TONY LYONS:· -- time when you're trying to get a
23· ·story, you want to lead things a little bit and see
24· ·what happens.
25· · · · SHARON CHURCHER:· Well, some people -- some


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·1· ·journalists posted a lot of stuff about Alan, but it
·2· ·was never with under-aged girls.· I don't -- you
·3· ·probably know about that from him.· Someone posted
·4· ·something online about him, you know, being a
·5· ·womanizer, which, of course, men have a right to do.
·6· · · · TONY LYONS:· Yeah, I mean --
·7· · · · SHARON CHURCHER:· -- but, I mean, I -- that's
·8· ·something --
·9· · · · TONY LYONS:· What does that even mean?
10· · · · SHARON CHURCHER:· -- that I remember.· I remember
11· ·--
12· · · · TONY LYONS:· I mean, other there's an allegation
13· ·of wrongdoing or there isn't.
14· · · · SHARON CHURCHER:· -- (inaudible) big on that one.
15· ·They were trying to get every journalist in the
16· ·country to pick up on that.
17· · · · TONY LYONS:· Right.
18· · · · SHARON CHURCHER:· But that's all I remember.                      I
19· ·never remember any rumors.· I just don't remember, you
20· ·know.
21· · · · TONY LYONS:· Yeah.
22· · · · SHARON CHURCHER:· I don't know.· It's -- I wonder
23· ·why they did it if they -- the other thing is it's a
24· ·weird tactic if it was made up because where does it
25· ·get you in the end?


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·1· · · · TONY LYONS:· Because they're not going to make a
·2· ·ton of money from Alan, right?
·3· · · · SHARON CHURCHER:· No.· She's not going to get --
·4· ·yeah, so --
·5· · · · TONY LYONS:· But she wasn't even suing Alan,
·6· ·right, so --
·7· · · · SHARON CHURCHER:· Not yet.
·8· · · · REBECCA:· But now she is.
·9· · · · TONY LYONS:· Well, she's suing him for --
10· · · · REBECCA:· (Inaudible).
11· · · · TONY LYONS:· -- for defamation, yeah.
12· · · · SHARON CHURCHER:· I mean, she -- the only danger
13· ·all of this is one -- I presume you've got a lawyer, I
14· ·just want to make very, very sure she can't make any
15· ·trouble.· I don't see she could.· But (inaudible) made
16· ·trouble out of the most bizarre little things, so just
17· ·want to be careful it was (inaudible), just in case
18· ·there's anything she might (inaudible) --
19· · · · TONY LYONS:· Yeah.
20· · · · SHARON CHURCHER:· -- she can sue.
21· · · · TONY LYONS:· But then again, maybe she -- maybe
22· ·she's not really making any of these decisions by
23· ·herself.
24· · · · SHARON CHURCHER:· No, I think -- I think --
25· · · · TONY LYONS:· You know, because if it's just all


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·1· ·about money, then --
·2· · · · SHARON CHURCHER:· -- (inaudible) lawyers make the
·3· ·decisions, don't they?
·4· · · · TONY LYONS:· She just, yeah.
·5· · · · SHARON CHURCHER:· She's collected millions, you
·6· ·know, I think.· Because the last one was settled, the
·7· ·one with the (inaudible).
·8· · · · TONY LYONS:· And so you just never know.
·9· · · · SHARON CHURCHER:· Trump (inaudible).
10· · · · TONY LYONS:· So you think Trump settled with her,
11· ·too?
12· · · · SHARON CHURCHER:· I don't know.· I found it very
13· ·strange that she changed her story about Trump.
14· · · · TONY LYONS:· Yeah.
15· · · · SHARON CHURCHER:· But who can prove it, you know?
16· · · · TONY LYONS:· So who else do you -- do you think
17· ·she would have settled with?· Are there other people
18· ·who've fallen off the radar?
19· · · · SHARON CHURCHER:· I don't know.· I -- I've no
20· ·idea.· I found Trump (inaudible) just intimidation.                    I
21· ·don't know.· But her lawyers are very adamant with
22· ·anyone who asks that Trump was a gentleman at the Mara
23· ·Lago (inaudible) to quote one of them, was a perfect
24· ·gentleman.· They sent a journalist this -- that he
25· ·sent --


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·1· · · · TONY LYONS:· Maybe boys he used to go there.
·2· ·Maybe they're pictures of him.
·3· · · · SHARON CHURCHER:· We should actually have that.
·4· · · · TONY LYONS:· Maybe there are pictures of him
·5· ·coming in and out?
·6· · · · SHARON CHURCHER:· We have to get Mara Lago into
·7· ·this, somehow, just to be vicious, nasty at Mara Lago.
·8· · · · TONY LYONS:· But so that would be sort of satire
·9· ·--
10· · · · SHARON CHURCHER:· Because --
11· · · · TONY LYONS:· -- once again, though, like, would
12· ·you call the -- the Mara Lago Me Too etiquette
13· ·handbook.
14· · · · SHARON CHURCHER:· It's actually clever --
15· · · · REBECCA:· No.
16· · · · SHARON CHURCHER:· -- (inaudible) in country some
17· ·kind of thing about --
18· · · · REBECCA:· The Gentlemen's Guide to Me Too.
19· · · · SHARON CHURCHER:· The Gentlemen's Guide to Me
20· ·Too.· Originally, I thought that satire would
21· ·translate -- people really want to know, but it's got
22· ·to be a little quirky, hasn't it?· Because it's so
23· ·absurd that it's almost impossible --
24· · · · TONY LYONS:· Yeah.
25· · · · SHARON CHURCHER:· -- not to get --


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·1· · · · TONY LYONS:· I would put in little kind of
·2· ·vignettes, like little stories of sort of what's the
·3· ·scene, you know.· You're in Mara Lago, you know.
·4· · · · SHARON CHURCHER:· Yeah --
·5· · · · REBECCA:· (Inaudible).
·6· · · · TONY LYONS:· But I would -- I would not make it
·7· ·tongue in cheek at all.
·8· · · · SHARON CHURCHER:· If you're at Mara Lago and
·9· ·Donald walks up and presents you with a naked woman,
10· ·what do you do?
11· · · · TONY LYONS:· Right.
12· · · · SHARON CHURCHER:· I think we should do it, yes.
13· · · · TONY LYONS:· You say there's an app here.· I'd
14· ·like you just to sign right here, feel free to use
15· ·your finger or the back of a pen.
16· · · · REBECCA:· That's pretty (inaudible).
17· · · · TONY LYONS:· But you know, until that's done, I
18· ·don't even see you.· Is there a person there?
19· · · · SHARON CHURCHER:· I think it has to have a sense
20· ·of humor to it, doesn't it?· Because people are so fed
21· ·up with the thing, I think --
22· · · · TONY LYONS:· But I would --
23· · · · SHARON CHURCHER:· -- except for people who are
24· ·making money off (inaudible).
25· · · · TONY LYONS:· But the -- but the humor of it has


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·1· ·to be kind of deadpan, like --
·2· · · · SHARON CHURCHER:· Yes, totally, totally.
·3· · · · TONY LYONS:· -- like, it has to be -- you're just
·4· ·telling the story and then, people are laughing, but
·5· ·you're -- you're not --
·6· · · · SHARON CHURCHER:· We could always hire Alan.
·7· · · · TONY LYONS:· -- trying to make him --
·8· · · · SHARON CHURCHER:· You could always actually hire
·9· ·Alan to represent you.
10· · · · TONY LYONS:· To represent me if somebody sues.
11· · · · SHARON CHURCHER:· We could put in, you know, list
12· ·of lawyers --
13· · · · REBECCA:· (Inaudible).
14· · · · TONY LYONS:· Alan -- Alan hasn't been on that
15· ·side of --
16· · · · SHARON CHURCHER:· Yeah, but maybe there's a new
17· ·business here.
18· · · · TONY LYONS:· I mean, I'm --
19· · · · SHARON CHURCHER:· David Boies has got into it,
20· ·and Alan, of course, is well thought of.· She knows
21· ·him.
22· · · · TONY LYONS:· Yeah.
23· · · · SHARON CHURCHER:· Harvard lawyer, I mean, given
24· ·that other lawyers are getting into this.
25· · · · TONY LYONS:· Yeah.


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·1· · · · SHARON CHURCHER:· I mean, we can maybe have a
·2· ·list at the end of, you know, decorating books, which
·3· ·I'm sure you've occasionally done, in the back --
·4· · · · TONY LYONS:· Yeah.
·5· · · · SHARON CHURCHER:· -- you know, by your
·6· ·(inaudible).
·7· · · · TONY LYONS:· Right, right.
·8· · · · SHARON CHURCHER:· We could do a list --
·9· · · · TONY LYONS:· Like the ten (inaudible) lawyers.
10· · · · SHARON CHURCHER:· (Inaudible) we guarantee your
11· ·law firm, but, yeah, the ten best lawyers, yeah.
12· · · · TONY LYONS:· Yeah.
13· · · · SHARON CHURCHER:· Yeah.
14· · · · HECTOR:· (Inaudible).
15· · · · SHARON CHURCHER:· And you're going to print this
16· ·on proper paper, are you, like invitations, you print
17· ·it on nice paper, are you?
18· · · · TONY LYONS:· Oh, sure.· I think it should --
19· ·should be, yeah, I don't know.· But I -- I think it
20· ·could be a really important book right now.
21· · · · SHARON CHURCHER:· I think when you got the
22· ·demonstrators outside this building.
23· · · · TONY LYONS:· I mean, I don't think that would be
24· ·something people would really care about.· This is
25· ·really just telling people how to act.· This is --


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·1· · · · SHARON CHURCHER:· Yeah, exactly.
·2· · · · TONY LYONS:· -- this is sort of, like, it's a
·3· ·document of the progress that's been -- been made,
·4· ·where are we now.
·5· · · · SHARON CHURCHER:· Yeah.
·6· · · · TONY LYONS:· You know.
·7· · · · REBECCA:· That'll be (inaudible).
·8· · · · TONY LYONS:· I don't see how that would piss off
·9· ·anybody.· I mean, maybe the -- you and Alan sort of
10· ·like combination there would -- but so the beauty of
11· ·that, if -- if he would even do it, would be that it
12· ·would be just a story.
13· · · · SHARON CHURCHER:· Oh, yeah, of course.
14· · · · TONY LYONS:· It would be covered in a hundred
15· ·places, right?
16· · · · SHARON CHURCHER:· Oh, yeah, they can't not cover
17· ·it.
18· · · · TONY LYONS:· Yeah.
19· · · · SHARON CHURCHER:· I know it's like --
20· · · · TONY LYONS:· And you would be the hero.
21· · · · SHARON CHURCHER:· Oh, I always like being
22· ·(inaudible) heroine.
23· · · · TONY LYONS:· Oh, sorry.· That's going to have to
24· ·be in the book.
25· · · · SHARON CHURCHER:· We have to do language


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·1· ·(inaudible).
·2· · · · TONY LYONS:· Right, right.
·3· · · · SHARON CHURCHER:· You have no idea anymore, do
·4· ·you?· None whatsoever.
·5· · · · TONY LYONS:· We were going to do a book on
·6· ·personal pronouns and how that all works because it's
·7· ·-- it's kind of complicated about what you're supposed
·8· ·to say.
·9· · · · SHARON CHURCHER:· Well, you know about Berkley
10· ·now?
11· · · · TONY LYONS:· No.
12· · · · SHARON CHURCHER:· They're eliminating man.
13· · · · REBECCA:· At Berkley?
14· · · · SHARON CHURCHER:· Yeah.· They're eliminating
15· ·gender.· Have you not heard this?· There'll be no more
16· ·man.
17· · · · TONY LYONS:· So I was at my --
18· · · · REBECCA:· I mean, seriously, that doesn?t
19· ·surprise me.
20· · · · SHARON CHURCHER:· (Inaudible) two months ago.
21· · · · TONY LYONS:· I was at my daughter's school the
22· ·other day, and you know, regular New York school, and
23· ·they have gender-neutral bathrooms.
24· · · · REBECCA:· Yeah.
25· · · · TONY LYONS:· So they're co-ed bathrooms, which I


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·1· ·-- I'd never seen that before.
·2· · · · SHARON CHURCHER:· And I think they -- well, yeah,
·3· ·New York in the drug era, in the swinging era, all the
·4· ·nightclubs had --
·5· · · · TONY LYONS:· Right, right, right.· That's --
·6· ·that's true.
·7· · · · SHARON CHURCHER:· For other reasons.
·8· · · · TONY LYONS:· Well, they didn't even have -- it
·9· ·didn't say gender neutral.· It just said bathroom.
10· · · · SHARON CHURCHER:· Exactly.
11· · · · TONY LYONS:· Nobody really cared, and if they --
12· · · · SHARON CHURCHER:· My life was just like
13· ·(inaudible).
14· · · · TONY LYONS:· It was Limelight --
15· · · · SHARON CHURCHER:· (inaudible).· I remember
16· ·looking at Limelight (inaudible).
17· · · · TONY LYONS:· I've walked into Limelight once in
18· ·about 1985.· And I was dressed in a suit and tie,
19· ·coming from another nightclub that I was working at,
20· ·and I was the only there with clothes on.· It was this
21· ·really weird scene.
22· · · · SHARON CHURCHER:· It was always beautiful
23· ·(inaudible) boys, wasn't it?
24· · · · TONY LYONS:· It was just, yeah, it was just like
25· ·a sea of people with either no -- no clothes or almost


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·1· ·no clothes on.· That was a different world.
·2· · · · SHARON CHURCHER:· Well, I'm on board if you think
·3· ·you can do it.
·4· · · · TONY LYONS:· Yeah, so the question is what we do
·5· ·next?
·6· · · · SHARON CHURCHER:· Do you want to talk to Alan and
·7· ·then, I suppose --
·8· · · · TONY LYONS:· I could call Alan.· I -- you know, I
·9· ·don't know if he would think it was funny or if we
10· ·would hang up the phone on me.· I mean, I'll ask him.
11· · · · SHARON CHURCHER:· I think it needs someone like
12· ·that to make it work.
13· · · · TONY LYONS:· Yeah.
14· · · · SHARON CHURCHER:· I really do, to, you know --
15· · · · TONY LYONS:· I then I think it does really have
16· ·to be --
17· · · · SHARON CHURCHER:· I thought it needed a name.
18· ·That's what I said.· It needs a name to make it work.
19· · · · TONY LYONS:· Yeah.
20· · · · SHARON CHURCHER:· And but my position on this
21· ·thing is probably like his, I just think Me Too is --
22· ·I just think it's absurd, and I think it's time
23· ·someone did this.
24· · · · TONY LYONS:· Yeah, but I mean --
25· · · · SHARON CHURCHER:· The people are defenseless, not


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·1· ·knowing what to do, and also, I'm sure, can you
·2· ·imagine, though, if you are an 18-year-old kid.
·3· · · · TONY LYONS:· Yeah.· But at the same time, it's --
·4· ·it's like -- it's a book that has -- ought to have
·5· ·respect for all the people who really did go through
·6· ·something horrible.
·7· · · · SHARON CHURCHER:· Yeah, I know.
·8· · · · TONY LYONS:· And that's a different thing.
·9· · · · SHARON CHURCHER:· (Inaudible) piece, then, that's
10· ·--
11· · · · TONY LYONS:· That's not really about --
12· · · · SHARON CHURCHER:· Me Too has gone way beyond that
13· ·now, isn't it?
14· · · · TONY LYONS:· Yeah.
15· · · · SHARON CHURCHER:· I think it's gone to -- and you
16· ·could also put that in the preface.
17· · · · REBECCA:· Yeah, if you --
18· · · · TONY LYONS:· Yeah.
19· · · · REBECCA:· ·-- address it (inaudible).
20· · · · SHARON CHURCHER:· You say that, you know, we
21· ·understand, you know --
22· · · · TONY LYONS:· Has a big bold statement that --
23· · · · REBECCA:· Yeah, yeah, and then, you get into what
24· ·you're trying to --
25· · · · TONY LYONS:· But that the world is where -- where


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·1· ·it is now.
·2· · · · SHARON CHURCHER:· See, it used to be you slapped
·3· ·the guy's face.· Now, you --
·4· · · · TONY LYONS:· Yeah.
·5· · · · SHARON CHURCHER:· -- post it on social media and
·6· ·--
·7· · · · TONY LYONS:· Yeah.
·8· · · · SHARON CHURCHER:· -- (inaudible) Boies and
·9· ·Edwards.
10· · · · TONY LYONS:· Yeah.
11· · · · SHARON CHURCHER:· It really has changed.· And --
12· ·and a lot of women have begun to -- (inaudible)
13· ·probably never written and said, well, this makes us
14· ·seem like we weaklings.
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· So given society's changing, I
17· ·just think it is short and to the point and has some
18· ·vignettes which some of them could be real.
19· · · · TONY LYONS:· Yeah.· Yeah, I mean -- I mean, some
20· ·of them could just be sort of like you're at a college
21· ·party, you know, X, Y, and Z, you know, you're at a
22· ·professional party or you're at a work party.
23· · · · SHARON CHURCHER:· It must be pretty impossible
24· ·you there right now.
25· · · · REBECCA:· It's -- it's definitely -- I think


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·1· ·people are watching what they say more than ever.
·2· · · · HECTOR:· Yeah.
·3· · · · SHARON CHURCHER:· Yeah, anyone can turn around.
·4· · · · REBECCA:· Yeah.
·5· · · · SHARON CHURCHER:· Anyone you meet on the street
·6· ·can turn around.
·7· · · · HECTOR:· Yeah, you've done it yourself.
·8· · · · SHARON CHURCHER:· And there are things that
·9· ·definitely happening, you know, it's -- it's for real,
10· ·this company's now doing fraternization policies for
11· ·companies.
12· · · · REBECCA:· Um-hum.
13· · · · TONY LYONS:· Yeah.
14· · · · SHARON CHURCHER:· They're out there on the
15· ·internet.· It's obviously --
16· · · · TONY LYONS:· We haven't done that, but it's -- I
17· ·mean, it hasn't felt necessary here, but --
18· · · · SHARON CHURCHER:· We got this huge engineering
19· ·company that he runs a lot of this stuff, and he used
20· ·to just be in charge because engineer real safety, but
21· ·now, they're very, very worried about this.· And I was
22· ·-- there's all these OSHA regulations now on the
23· ·subject.· They're just --
24· · · · TONY LYONS:· Yeah, so that we should -- could you
25· ·look at up because that's all public domain, so --


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·1· · · · SHARON CHURCHER:· My husband actually (inaudible)
·2· ·he showed it to me and it's just --
·3· · · · TONY LYONS:· Okay.· Could you give us, like, send
·4· ·us a link to that?
·5· · · · SHARON CHURCHER:· Sure, I can.
·6· · · · TONY LYONS:· That would just be a good place to
·7· ·start.
·8· · · · SHARON CHURCHER:· (Inaudible) link to the dating
·9· ·app too.
10· · · · REBECCA:· Yeah.
11· · · · TONY LYONS:· And I will find what the lawsuit
12· ·that my friend is working on.
13· · · · SHARON CHURCHER:· Yeah, yeah, yeah.
14· · · · TONY LYONS:· He's all about -- because that's a
15· ·pretty good vignette, sort of, you know, you, you
16· ·know, you have to be careful about texting, websites,
17· ·everything.
18· · · · SHARON CHURCHER:· Um-hum.
19· · · · TONY LYONS:· But then, you know, definitely a
20· ·good statement at the start of what progress has been
21· ·made and how this is going to be great for so many
22· ·people.· Like, I have a 14 and a 16-year-old daughter,
23· ·like, maybe they're not going to have to go through a
24· ·lot of things that millions of people have to go
25· ·through.


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·1· · · · SHARON CHURCHER:· I think as we said, it's really
·2· ·about that, fine, but then, it's always been --
·3· ·there's always been problems in the workplace for us.
·4· · · · TONY LYONS:· Sure.
·5· · · · SHARON CHURCHER:· That's, you know, it's not new.
·6· ·What's new is the fact that you can now just post --
·7· · · · TONY LYONS:· Right.
·8· · · · SHARON CHURCHER:· -- I mean, there has always
·9· ·been that, and what I was saying --
10· · · · TONY LYONS:· And now, there's clearly less than
11· ·there ever was.
12· · · · SHARON CHURCHER:· -- (inaudible), too.
13· · · · REBECCA:· Um-hum.
14· · · · SHARON CHURCHER:· Like some of Weinstein's
15· ·accusers, one of them, she's not an accuser, but she's
16· ·someone (inaudible) coming for a long time, very
17· ·definitely gave herself to Harvey so she could get
18· ·something back.
19· · · · TONY LYONS:· Yeah.
20· · · · REBECCA:· Um-hum, um-hum.
21· · · · SHARON CHURCHER:· I mean, that was quite --
22· · · · TONY LYONS:· And that's called prostitution.
23· · · · SHARON CHURCHER:· Yeah, right.· It's called a
24· ·casting couch in Hollywood, but yeah, that's gone on
25· ·forever, you know.


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·1· · · · TONY LYONS:· Yeah.
·2· · · · SHARON CHURCHER:· And -- and so it's not -- not
·3· ·everyone is a victim and how is that going to be
·4· ·handled.
·5· · · · TONY LYONS:· Who is that -- who is that French
·6· ·movie star who commented on that?
·7· · · · SHARON CHURCHER:· Yeah, she did, she wrote a
·8· ·(inaudible) on it, didn't she?
·9· · · · TONY LYONS:· I'm trying to think, yeah.
10· · · · HECTOR:· It was a letter by -- signed by, I
11· ·think, 100 of the --
12· · · · TONY LYONS:· Oh, really?· Okay.
13· · · · HECTOR:· Some French politicians and such -- sort
14· ·of, like, against the Me Too or just saying --
15· · · · TONY LYONS:· Well, the esthetic in France is
16· ·totally different.· Like, if a politician in France
17· ·sleeps with a whole bunch of people, nobody cares at
18· ·all.· It's not even news.
19· · · · SHARON CHURCHER:· But it hasn't been in this
20· ·country, really, until now.
21· · · · REBECCA:· Yeah.
22· · · · SHARON CHURCHER:· It really hasn't, has it?· It's
23· ·--
24· · · · REBECCA:· No.
25· · · · SHARON CHURCHER:· I mean, you used to just -- if


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·1· ·it went too far, you'd slap the guy's face.
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· Call his wife up, you know.
·4· · · · TONY LYONS:· Yeah.
·5· · · · HECTOR:· In France, it's -- it's -- you have --
·6· ·it's a cultural thing, the art of flirtation, you know
·7· ·--
·8· · · · SHARON CHURCHER:· Oh, sure, no --
·9· · · · TONY LYONS:· But that's a different thing.                  I
10· ·mean, that's -- that's different from the question of
11· ·consent.
12· · · · SHARON CHURCHER:· Yeah.
13· · · · REBECCA:· Um-hum.
14· · · · TONY LYONS:· You know.
15· · · · SHARON CHURCHER:· Me Too is supposed to be about
16· ·exploitation.
17· · · · TONY LYONS:· Right.
18· · · · SHARON CHURCHER:· You know, we've been exploited
19· ·forever, finally, we're free.
20· · · · TONY LYONS:· But there's always been a little bit
21· ·of it here where if a politician has just slept with
22· ·somebody or is, you know, cheating on his or her
23· ·spouse, that that's sort of like a good enough reason
24· ·for them not to be a candidate or --
25· · · · REBECCA:· Um-hum.


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·1· · · · TONY LYONS:· -- whereas in France, I don't think
·2· ·--
·3· · · · SHARON CHURCHER:· Oh, I see your point, yeah.
·4· · · · TONY LYONS:· -- anybody cares.· It doesn't --
·5· · · · SHARON CHURCHER:· It has -- you're right.
·6· · · · TONY LYONS:· Separately from consent or age.
·7· · · · SHARON CHURCHER:· It's changed now with our
·8· ·current great leader.
·9· · · · TONY LYONS:· Just sex.· Right.
10· · · · SHARON CHURCHER:· Well, I mean, that's the other
11· ·thing.· People aren't getting away with it now quite
12· ·by being more open.· In a weird way the way to get
13· ·away with it, I suppose we could use Trump as an
14· ·example is you just --
15· · · · REBECCA:· (Inaudible).
16· · · · SHARON CHURCHER:· -- very out there with it.
17· · · · REBECCA:· Yeah.
18· · · · SHARON CHURCHER:· Totally out there, which is
19· ·what he is, isn't it?· You know, just tweet something.
20· ·It's going to civil war (inaudible).
21· · · · TONY LYONS:· Right, right.· That was kind of a
22· ·crazy statement.
23· · · · HECTOR:· Yeah.
24· · · · SHARON CHURCHER:· We hope.
25· · · · HECTOR:· It originated from a preacher, from a --


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·1· · · · TONY LYONS:· Oh, really?
·2· · · · SHARON CHURCHER:· It did?
·3· · · · TONY LYONS:· Oh, so he was just -- he was
·4· ·retweeting something?
·5· · · · HECTOR:· Yeah, it was just --
·6· · · · TONY LYONS:· Oh, okay.
·7· · · · HECTOR:· -- a fundamentalist guy that goes into
·8· ·the White House all the time.· He's a spiritual
·9· ·advisor.
10· · · · SHARON CHURCHER:· (Inaudible).· He did?
11· ·(Inaudible).
12· · · · HECTOR:· (Inaudible).
13· · · · SHARON CHURCHER:· (Inaudible).
14· · · · TONY LYONS:· I don't know.
15· · · · SHARON CHURCHER:· Was (inaudible) -- I mean, the
16· ·only agent I've talked to about this, I think I told
17· ·you, said, you know, it was against it was Frank Wyman
18· ·-- do you guys get along or not?
19· · · · TONY LYONS:· Wyman?
20· · · · SHARON CHURCHER:· I don't really have --
21· · · · TONY LYONS:· I'm trying to think what my last
22· ·contact with Wyman is.
23· · · · SHARON CHURCHER:· I'm not really formally
24· ·represented right now.
25· · · · TONY LYONS:· We have definitely done deals with


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·1· ·Wyman.· Let me see when the last --
·2· · · · SHARON CHURCHER:· The other agent I've been doing
·3· ·just about a novel, Irene Goodman.· But Frank, I did
·4· ·talk to a year ago about this idea, and that's when he
·5· ·got very hostile to it after initially liking it.
·6· · · · TONY LYONS:· Yeah, I haven't been in touch with
·7· ·Wyman --
·8· · · · SHARON CHURCHER:· He's changed.· He (inaudible)
·9· ·literary.
10· · · · TONY LYONS:· Yeah.
11· · · · SHARON CHURCHER:· (Inaudible).
12· · · · TONY LYONS:· But last time I was in touch with
13· ·Wyman was three years ago.
14· · · · SHARON CHURCHER:· Once you know where (inaudible)
15· ·someone like that talk to you.
16· · · · TONY LYONS:· Yeah.
17· · · · SHARON CHURCHER:· Since you might (inaudible).
18· · · · TONY LYONS:· So --
19· · · · SHARON CHURCHER:· I last talked to Dylan about
20· ·your imprints.
21· · · · TONY LYONS:· Oh, yeah.
22· · · · SHARON CHURCHER:· Dylan (inaudible).
23· · · · TONY LYONS:· Yeah.
24· · · · SHARON CHURCHER:· He had a very generous offer to
25· ·me.


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·1· · · · TONY LYONS:· What did he say?
·2· · · · SHARON CHURCHER:· The very generous offer was I
·3· ·was going to indemnify him.· Him.
·4· · · · TONY LYONS:· Oh, yeah.
·5· · · · SHARON CHURCHER:· You know his idea was he was
·6· ·going to use all these on National Enquire
·7· ·(inaudible).
·8· · · · TONY LYONS:· Yeah.
·9· · · · SHARON CHURCHER:· And he suddenly must have got
10· ·worried because we were talking about it, and then he
11· ·sent me a contract from his company, whatever it is.
12· ·And I suddenly noticed it said that I would indemnify
13· ·him.
14· · · · TONY LYONS:· We had that problem once.
15· · · · SHARON CHURCHER:· I said, Dylan, you're giving me
16· ·material to use to write this.· I can't indemnify you.
17· ·I don't know where you got it from.
18· · · · TONY LYONS:· Yeah.· It seems like --
19· · · · SHARON CHURCHER:· It's a good idea, though.
20· · · · TONY LYONS:· We had that same kind of problem
21· ·with -- a couple of years ago in that that was our
22· ·standard contract.· So to change that meant that we
23· ·had to send it out to some lawyer.
24· · · · SHARON CHURCHER:· Here, he was giving people -- I
25· ·think it's pretty standard.· You are not going to rip


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·1· ·people off.· But, no, remember Dylan was going to give
·2· ·the writers the files to write from.· So if you're --
·3· · · · TONY LYONS:· So if he's giving them all of the
·4· ·information versus --
·5· · · · SHARON CHURCHER:· How can he -- I don't know
·6· ·where his stuff is coming from.
·7· · · · TONY LYONS:· -- so you wouldn't be researching
·8· ·it?· You would just be using --
·9· · · · SHARON CHURCHER:· His ideas.
10· · · · TONY LYONS:· His --
11· · · · SHARON CHURCHER:· To write it.· Which actually
12· ·wouldn't be me anyway.· Is he still doing his -- the
13· ·other book about the Enquirer or is that not coming
14· ·off?· He showed me the cover.
15· · · · TONY LYONS:· Which one?· The --
16· · · · SHARON CHURCHER:· The one where he was going to
17· ·talk about -- oh, what do they call it, paying
18· ·everyone off, yeah.
19· · · · TONY LYONS:· Catch and kill?
20· · · · SHARON CHURCHER:· Catch and kill.· Yeah, yeah.
21· · · · TONY LYONS:· I'm not sure about that one.
22· · · · SHARON CHURCHER:· He showed me a cover.
23· · · · TONY LYONS:· Yeah.· There was a cover.
24· · · · SHARON CHURCHER:· I kept it quiet.
25· · · · TONY LYONS:· Yeah.


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·1· · · · SHARON CHURCHER:· The Wall Street Journal kept
·2· ·calling me up and wanting to talk about the Enquirer.
·3· ·He's so tempted.
·4· · · · TONY LYONS:· Yeah, there's nothing there, but --
·5· · · · SHARON CHURCHER:· You're not doing catch and
·6· ·kill, then?
·7· · · · TONY LYONS:· Well, yeah --
·8· · · · REBECCA:· There's a book called Catch and Kill
·9· ·coming out soon.
10· · · · SHARON CHURCHER:· With you guys.
11· · · · TONY LYONS:· No, yeah.
12· · · · REBECCA:· (Inaudible).
13· · · · SHARON CHURCHER:· No, Dylan was going to write
14· ·one, he said.
15· · · · TONY LYONS:· Yeah, yeah, yeah.
16· · · · (Overlapping voices)
17· · · · SHARON CHURCHER:· Oh, Ronin.
18· · · · REBECCA:· Yeah, he's coming out.
19· · · · SHARON CHURCHER:· I'm sure he'll lie.· He made
20· ·(inaudible).
21· · · · TONY LYONS:· But there's a --
22· · · · SHARON CHURCHER:· It's really something.
23· · · · TONY LYONS:· There's an Epstein book coming out.
24· · · · SHARON CHURCHER:· Oh there is?
25· · · · REBECCA:· Yeah.


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·1· · · · SHARON CHURCHER:· By who?
·2· · · · TONY LYONS:· The -- by Dylan.
·3· · · · SHARON CHURCHER:· Dylan's doing Epstein?
·4· · · · HECTOR:· (Inaudible).
·5· · · · SHARON CHURCHER:· Dylan Howard, you mean?
·6· · · · TONY LYONS:· Yeah.
·7· · · · SHARON CHURCHER:· Huh.
·8· · · · TONY LYONS:· Wait.· Let me just see --
·9· · · · SHARON CHURCHER:· For you?
10· · · · TONY LYONS:· Yeah.
11· · · · SHARON CHURCHER:· This might be a crime thing.
12· · · · TONY LYONS:· Yeah.
13· · · · SHARON CHURCHER:· Crime thing.· Oh, okay, very
14· ·nice.
15· · · · TONY LYONS:· Let me see.· Wait, where is that?
16· · · · (Overlapping voices)
17· · · · HECTOR:· They gave us the wrong resolution --
18· · · · REBECCA:· (Inaudible).
19· · · · SHARON CHURCHER:· I think it will be great fun.
20· · · · REBECCA:· I think it will be --
21· · · · (Overlapping voices)
22· · · · SHARON CHURCHER:· But I think it does need
23· ·someone like Alan on it.· If it's not Alan, it has to
24· ·be someone, I think.
25· · · · REBECCA:· Yeah.


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·1· · · · TONY LYONS:· It's definitely got to be somebody.
·2· · · · REBECCA:· Yeah, but I think it's nice having
·3· ·(inaudible).
·4· · · · SHARON CHURCHER:· Oh, yeah.
·5· · · · REBECCA:· We'll --
·6· · · · TONY LYONS:· Oh, yeah.· Here it is.· Okay.
·7· · · · SHARON CHURCHER:· I've done a ton over the years,
·8· ·too, so I'm assuming (inaudible).
·9· · · · REBECCA:· Yeah.· Yeah.
10· · · · SHARON CHURCHER:· I broke the story of
11· ·(inaudible) when I was at Penthouse.· Do you remember
12· ·that Strom Thurmond.· He had a secret love child?
13· · · · TONY LYONS:· Yeah.
14· · · · SHARON CHURCHER:· That was mine.· So I mean, I've
15· ·got a history of --
16· · · · TONY LYONS:· That was a good story.
17· · · · SHARON CHURCHER:· So if one is doing --
18· · · · TONY LYONS:· I liked that story.
19· · · · SHARON CHURCHER:· -- there's a ton of that stuff
20· ·out there.
21· · · · REBECCA:· Yeah.
22· · · · TONY LYONS:· Okay, so this is it.· Dead Man Tell
23· ·No Tales.· It's a -- it's a tie in with a seven-part
24· ·podcast.· Okay.
25· · · · REBECCA:· Bye.· It's nice meeting you.· We'll


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·1· ·talk soon.
·2· · · · SHARON CHURCHER:· That's a great title.· I like
·3· ·it.
·4· · · · TONY LYONS:· Yeah, do do you know who they are?
·5· · · · SHARON CHURCHER:· (Inaudible) used to run Radar
·6· ·for him, right?
·7· · · · TONY LYONS:· Okay, yeah.
·8· · · · SHARON CHURCHER:· And James Robertson used to --
·9· ·does still work for the Enquirer, right?
10· · · · TONY LYONS:· I'm not really sure.
11· · · · SHARON CHURCHER:· British guy.
12· · · · HECTOR:· Yeah, he's now running a number of their
13· ·(inaudible).
14· · · · TONY LYONS:· Okay.· Yeah, I don't know if it says
15· ·that, but.
16· · · · SHARON CHURCHER:· I don't know if Dylan is still
17· ·with the company or not, do you?
18· · · · TONY LYONS:· I don't know.
19· · · · SHARON CHURCHER:· It's very tangled, isn't it?
20· · · · HECTOR:· (Inaudible).
21· · · · TONY LYONS:· I'm not sure what the current status
22· ·is, and I haven't really asked him about it.
23· · · · SHARON CHURCHER:· So he's basically just
24· ·enlisting people, isn't he, to do this stuff.
25· · · · TONY LYONS:· Yeah.


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·1· · · · SHARON CHURCHER:· Melissa sort of vanished.                   I
·2· ·didn't know what happened to her.· She's very bright.
·3· ·I think she's sort of a Yaley or something, but she's
·4· ·a very smart woman.
·5· · · · TONY LYONS:· I have never met her.· And I haven't
·6· ·-- I mean, I'm not sure if I've met James.· Was James
·7· ·at the Diana party?
·8· · · · HECTOR:· I don't think so.
·9· · · · TONY LYONS:· No?
10· · · · HECTOR:· He's 27 years old, 28 years old.
11· · · · SHARON CHURCHER:· He used to work for a guy
12· ·called Mark Cohen, who you may not know, but it's one
13· ·of the big Hollywood (inaudible) running around for
14· ·them.· Melissa's very smart.· But I guess for you
15· ·(inaudible) --
16· · · · TONY LYONS:· It's kind of a nice.
17· · · · SHARON CHURCHER:· -- be very careful.· Yeah,
18· ·sure, people just bringing stuff in.
19· · · · TONY LYONS:· Yeah.· I mean, yeah.· I don't know
20· ·how it's all working, but --
21· · · · SHARON CHURCHER:· You know who did Epstein before
22· ·is James Patterson.
23· · · · TONY LYONS:· Yeah, yeah.
24· · · · HECTOR:· (Inaudible).
25· · · · TONY LYONS:· Yeah, that was --


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·1· · · · SHARON CHURCHER:· And of course it did well just
·2· ·because it was Patterson.
·3· · · · TONY LYONS:· But that was fiction, right?
·4· · · · SHARON CHURCHER:· Oh, it was fiction, but it was
·5· ·not sold as fiction.
·6· · · · TONY LYONS:· Sort of.
·7· · · · HECTOR:· No.
·8· · · · SHARON CHURCHER:· No, it was not fiction.· It was
·9· ·sold as nonfiction.
10· · · · TONY LYONS:· Really?
11· · · · HECTOR:· (Inaudible).
12· · · · SHARON CHURCHER:· John Connelly, do you know John
13· ·Connelly?
14· · · · TONY LYONS:· Yeah.
15· · · · SHARON CHURCHER:· John did it for him.
16· · · · HECTOR:· It sold 87,000 copies.
17· · · · SHARON CHURCHER:· (Inaudible) as you know.
18· · · · TONY LYONS:· Yeah, Patterson doesn't do any of
19· ·his writing now, right?
20· · · · SHARON CHURCHER:· No, he has a writing
21· ·(inaudible).
22· · · · TONY LYONS:· But it's sort of like his own
23· ·publishing empire.
24· · · · SHARON CHURCHER:· Yeah, yeah.· Totally.· No, it
25· ·was interesting because --


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·1· · · · TONY LYONS:· Filthy rich (inaudible).
·2· · · · SHARON CHURCHER:· -- they asked if they could buy
·3· ·my files.· I remember.· Because that was their idea.
·4· · · · TONY LYONS:· (Inaudible).
·5· · · · SHARON CHURCHER:· (Inaudible) buy anything.· Just
·6· ·took a bunch of stuff and cut and pasted.
·7· · · · TONY LYONS:· When did this even come out?
·8· · · · SHARON CHURCHER:· (Inaudible).· You should get
·9· ·Patterson to do the --
10· · · · TONY LYONS:· That was in 2016.
11· · · · SHARON CHURCHER:· Wow.· It's that long ago now.
12· · · · TONY LYONS:· Yeah.
13· · · · SHARON CHURCHER:· It wasn't a very good book.
14· · · · TONY LYONS:· Got a --
15· · · · SHARON CHURCHER:· It was Patterson.
16· · · · TONY LYONS:· Got a blurb from Lee Child.
17· · · · SHARON CHURCHER:· I think -- I think this is
18· ·going to depend on whether you can find someone as
19· ·controversial as Dershowitz to be part of it.· I think
20· ·you need that for this.· You need -- you really -- it
21· ·needs a bit of gravitas.· It needs -- it doesn't just
22· ·need a journalist doing a book like this.
23· · · · TONY LYONS:· Yeah.· That would be great.
24· · · · SHARON CHURCHER:· I said that from the beginning.
25· ·Because I had an idea of doing it a year or two ago


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·1· ·and couldn't make it work.· I was going to do a
·2· ·satire, but I couldn't make it work regardless.                  I
·3· ·felt it needed a name.
·4· · · · TONY LYONS:· Yeah, I don't think the satire
·5· ·works.
·6· · · · SHARON CHURCHER:· I was at the Wall Street
·7· ·Journal with John Cooney, and he used to do books
·8· ·about the economy, and he would just go out there and
·9· ·find an economist, and that would be the first name.
10· ·After that he --
11· · · · TONY LYONS:· There's a lot of publishing like
12· ·that now.· There's a company in California that does a
13· ·lot of really quick books.· And they just come up with
14· ·a list of topics, and they hire a bunch of writers.
15· ·They don't pay anything upfront but they give a really
16· ·good royalty.
17· · · · HECTOR:· (Inaudible).
18· · · · TONY LYONS:· And they don't risk anything.
19· · · · HECTOR:· Forwards or --
20· · · · TONY LYONS:· No.· No, they just use people who
21· ·are close to the subject matter.
22· · · · SHARON CHURCHER:· The fact is (inaudible) I
23· ·think.
24· · · · TONY LYONS:· I think so too.
25· · · · SHARON CHURCHER:· I mean, honestly, I think we're


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·1· ·wasting our time (inaudible).
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· And then the problem is Alan's
·4· ·going to want much more money.· So much money I won't
·5· ·get any of this.· So you'll have to --
·6· · · · TONY LYONS:· I don't know because maybe -- maybe
·7· ·--
·8· · · · (Overlapping voices)
·9· · · · TONY LYONS:· -- he would want to do it.· Who
10· ·knows?
11· · · · SHARON CHURCHER:· He might not want to do it, but
12· ·the -- I was thinking back over the names of exposed
13· ·(inaudible).
14· · · · TONY LYONS:· Yeah.
15· · · · SHARON CHURCHER:· I may have done some Clinton.
16· ·I did Barak Obama's mistress, but that's too dangerous
17· ·because she's sued.
18· · · · TONY LYONS:· Yeah, yeah.
19· · · · SHARON CHURCHER:· He had a look alike for
20· ·Michelle that he was having an affair with, and she
21· ·was on his payroll.· (Inaudible), his campaign
22· ·payroll.
23· · · · HECTOR:· Wow.
24· · · · TONY LYONS:· But so -- yeah, so you guys like
25· ·somebody who has uncovered these kinds of things.


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·1· ·Alan, who is a victim of it.
·2· · · · SHARON CHURCHER:· Yeah, and he really is a
·3· ·victim.· I've got no qualms.
·4· · · · TONY LYONS:· Yeah.
·5· · · · SHARON CHURCHER:· Because again, I got
·6· ·represented by a lawyer who said it publicly.· She
·7· ·said that --
·8· · · · TONY LYONS:· Yeah.
·9· · · · SHARON CHURCHER:· She never told Sharon this.
10· · · · TONY LYONS:· Yeah, it's just weird that it's
11· ·still kind of spinning around.
12· · · · SHARON CHURCHER:· It's spinning around because
13· ·the woman is suing everybody, you see.
14· · · · TONY LYONS:· Yeah.
15· · · · SHARON CHURCHER:· So she's now suing Alan.                  I
16· ·don't know if you knew that.
17· · · · TONY LYONS:· Yeah.· No, no, no, I --
18· · · · SHARON CHURCHER:· She sues him for (inaudible).
19· · · · TONY LYONS:· I saw that, yeah.· So --
20· · · · SHARON CHURCHER:· The idea is that he will then
21· ·pay her off.· It's just openly -- this really is
22· ·blackmail.
23· · · · TONY LYONS:· Well, because what's happening, it's
24· ·going to cost him so much money that he gets put in
25· ·the position where he's better off --


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·1· · · · SHARON CHURCHER:· Just giving her --
·2· · · · TONY LYONS:· I don't think he's going to do that
·3· ·because he's not willing to have his legacy sort of
·4· ·tarnished by this, you know.· He's 81 years old --
·5· · · · SHARON CHURCHER:· And she'll just move on to
·6· ·other people if she gets away with that one too.
·7· · · · TONY LYONS:· She has plenty of people to go
·8· ·after, right?
·9· · · · SHARON CHURCHER:· Well, apparently.· She's a big
10· ·spender.· She's spent so much money.· Because you see,
11· ·Epstein paid her off.
12· · · · TONY LYONS:· Oh, okay.
13· · · · SHARON CHURCHER:· She had settled with Epstein,
14· ·and amazingly, there's a legal opinion that I could do
15· ·my stuff, even though she'd taken all this money.
16· ·She'd taken half a million, I think it was.
17· · · · TONY LYONS:· Wow.
18· · · · SHARON CHURCHER:· Amazingly, she could break her
19· ·no talking agreement because of the First Amendment.
20· ·You can't really settle with anyone.
21· · · · TONY LYONS:· Right, right.· So --
22· · · · SHARON CHURCHER:· A lot of people don't realize
23· ·that.
24· · · · TONY LYONS:· Basically -- yeah, lots of people
25· ·don't recognize that you can't ever sign away your


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·1· ·constitutional rights.
·2· · · · SHARON CHURCHER:· Yeah.
·3· · · · TONY LYONS:· So you can sign documents all day
·4· ·long.
·5· · · · SHARON CHURCHER:· So paying these people off is a
·6· ·waste of money --
·7· · · · TONY LYONS:· It's your constitutional right.
·8· ·Then you always have it.
·9· · · · SHARON CHURCHER:· Actually, that should be part
10· ·of that.· You should never pay off.· It's a waste of
11· ·money.
12· · · · TONY LYONS:· Although, you know, it's hard to say
13· ·because a lot of people probably have gotten out of a
14· ·lot of trouble by -- by doing that.
15· · · · SHARON CHURCHER:· Yeah, I think (inaudible).
16· · · · TONY LYONS:· But nowadays, I think people do just
17· ·come back time after time.
18· · · · SHARON CHURCHER:· Time again, yeah.
19· · · · TONY LYONS:· Because why not?
20· · · · SHARON CHURCHER:· Yeah.
21· · · · TONY LYONS:· And -- and in this climate, nobody's
22· ·going to look down on that.· It just looks like
23· ·bravery.
24· · · · SHARON CHURCHER:· Well, as I said --
25· · · · (Overlapping voices)


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·1· · · · SHARON CHURCHER:· I think I've got respect for
·2· ·him, anyway, just from all those years ago.· People I
·3· ·know who respect him, so.· ·You know, it's an Epstein,
·4· ·to be very honest, (inaudible) sometimes, and these
·5· ·girls were hookers.
·6· · · · TONY LYONS:· I don't know.
·7· · · · SHARON CHURCHER:· I'm afraid.· They weren't
·8· ·children.
·9· · · · TONY LYONS:· Well, it seems like she was older,
10· ·right?
11· · · · SHARON CHURCHER:· (Inaudible) story was more
12· ·about someone who gets huge amounts of money from
13· ·British public chumming around, you know, and have sex
14· ·with someone.
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· In the end, people sort of
17· ·seeing, you know, these are not children.
18· · · · TONY LYONS:· Yeah.
19· · · · SHARON CHURCHER:· I don't know what Alan's told
20· ·you, but --
21· · · · TONY LYONS:· I have no idea.
22· · · · SHARON CHURCHER:· You may not have discussed it
23· ·with him, but Epstein's women were -- he basically he
24· ·had prostitutes.· He didn't really have -- where he
25· ·really misbehaved was with the children down in the


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·1· ·Florida, the schoolgirls.
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· It was two sides to his
·4· ·operation -- the women he was pimping out like
·5· ·Virginia Roberts, who were women like in their late
·6· ·teens.
·7· · · · TONY LYONS:· How old was she, really?
·8· · · · SHARON CHURCHER:· Well, she lied.· She told me
·9· ·that she -- she took a year off.· She -- she
10· ·apparently was 16, not 15, when she was recruited.
11· ·But she'd be on the game for about a year then.
12· · · · TONY LYONS:· So she started off as 15 and then --
13· · · · SHARON CHURCHER:· She -- it turned out she was 16
14· ·when she was recruited by Epstein.· So she --
15· · · · (Overlapping voices)
16· · · · SHARON CHURCHER:· He had two operations.· He was
17· ·a very sick man in terms of -- he loved these
18· ·schoolgirls giving him erotic massages.· Then he had
19· ·this totally separate thing going where he was
20· ·basically pimping out beautiful young women to very
21· ·powerful men.
22· · · · TONY LYONS:· So then Roberts would have been 17
23· ·for --
24· · · · SHARON CHURCHER:· By the time with                            --
25· ·by the time she was flown to London -- and that's the
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·1· ·current federal investigation.
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· In London, she was the age of
·4· ·consent.· But she was flown out of Florida, where she
·5· ·was under the age of consent.· So it's one of those
·6· ·wonderful investigations --
·7· · · · TONY LYONS:· Transportation across --
·8· · · · (Overlapping voices)
·9· · · · SHARON CHURCHER:· -- not probably go very far.
10· · · · TONY LYONS:· Yeah.
11· · · · SHARON CHURCHER:· But apparently they're now
12· ·looking for "other victims".· I don't know if you saw
13· ·that in the New York Post.
14· · · · TONY LYONS:· No.
15· · · · SHARON CHURCHER:· It's --
16· · · · TONY LYONS:· I just haven't had enough time to
17· ·read.
18· · · · SHARON CHURCHER:· I just think it's the timing --
19· · · · TONY LYONS:· Keep track of it all.
20· · · · SHARON CHURCHER:· (Inaudible).· It's good that
21· ·you're doing the current book.· Dershowitz is writing
22· ·his own thing about how (inaudible).
23· · · · TONY LYONS:· Yeah, yeah.· Dershowitz, you know --
24· · · · SHARON CHURCHER:· (Inaudible).
25· · · · TONY LYONS:· Doesn't have a cowriter.


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·1· · · · SHARON CHURCHER:· Is (inaudible) doing that still
·2· ·or can he not do it?
·3· · · · TONY LYONS:· What?
·4· · · · SHARON CHURCHER:· Roger Stone told me he was
·5· ·going to do a book for you.· Because I know Roger.
·6· · · · TONY LYONS:· About?
·7· · · · SHARON CHURCHER:· Oh, it's ruined his life.· The
·8· ·whole Trump thing.
·9· · · · TONY LYONS:· Oh, yeah.
10· · · · SHARON CHURCHER:· (Inaudible) victim.· Is he not
11· ·doing it now, I guess?
12· · · · TONY LYONS:· He -- as far as I know, we're not
13· ·going to be doing it, but --
14· · · · SHARON CHURCHER:· Yeah.· No, he's going to go to
15· ·prison isn't he, probably.
16· · · · TONY LYONS:· That's happening.· I mean, his case
17· ·is coming up soon, right?
18· · · · SHARON CHURCHER:· Yeah, yeah, yeah.· I've known
19· ·Stone forever.· It's --
20· · · · TONY LYONS:· Wait, let me just see -- what's that
21· ·other one I was going to look up?
22· · · · HECTOR:· Dershowitz.
23· · · · TONY LYONS:· No.
24· · · · HECTOR:· Just talking about it.
25· · · · SHARON CHURCHER:· You were talking James


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·1· ·Patterson's done Epstein.
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· No one's done a how-to yet for
·4· ·Me Too.· Once you start talking about it, it's pretty
·5· ·obvious, I suppose.
·6· · · · TONY LYONS:· Yeah.· I don't think there could be
·7· ·--
·8· · · · (Overlapping voices)
·9· · · · SHARON CHURCHER:· -- you really have to have a
10· ·name.· I wouldn't do it otherwise.· A waste of time.
11· · · · TONY LYONS:· Let me talk to Alan about it.· It'll
12· ·be a fascinating conversation.
13· · · · SHARON CHURCHER:· And one would have to give him,
14· ·I assume, some kind of writing approval (inaudible) or
15· ·something.
16· · · · TONY LYONS:· Yeah.
17· · · · SHARON CHURCHER:· I think he's going to want
18· ·that, if I were him, anyway.
19· · · · TONY LYONS:· Yeah.
20· · · · SHARON CHURCHER:· Doesn't bother me.· As long as
21· ·he doesn't (inaudible).
22· · · · TONY LYONS:· Alan writes and thinks very, very
23· ·quickly.· This -- this book that he wrote now, I
24· ·think, took him about a month.
25· · · · SHARON CHURCHER:· It's great -- it's good that


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·1· ·he's done it.· I thought it was --
·2· · · · TONY LYONS:· Yeah.
·3· · · · SHARON CHURCHER:· I think it should do well,
·4· ·shouldn't it?
·5· · · · TONY LYONS:· I have no idea.· I mean, we've just
·6· ·announced it now, basically.
·7· · · · SHARON CHURCHER:· It was nice --
·8· · · · TONY LYONS:· It's not even up yet.
·9· · · · SHARON CHURCHER:· It was nice it was done that
10· ·way because it could have gone two ways that people
11· ·just not wanting, you know, he's the bad boy or
12· ·something.
13· · · · TONY LYONS:· Yeah.
14· · · · SHARON CHURCHER:· It is pretty extraordinary,
15· ·isn't it, the whole thing with him.
16· · · · TONY LYONS:· Yeah.· But it would be -- it would
17· ·be great if -- if he could really be exonerated, you
18· ·know --
19· · · · SHARON CHURCHER:· He can't be.· By definition --
20· ·the whole problem is you can't be.
21· · · · TONY LYONS:· Right.
22· · · · SHARON CHURCHER:· I mean, that's the whole
23· ·problem with all this.· There is no way.· How do you
24· ·do it?
25· · · · TONY LYONS:· Right.


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·1· · · · SHARON CHURCHER:· You can't prove --
·2· · · · TONY LYONS:· You can't prove a negative, right?
·3· · · · SHARON CHURCHER:· It's --
·4· · · · TONY LYONS:· Yeah.
·5· · · · SHARON CHURCHER:· It's just --
·6· · · · TONY LYONS:· How do you prove that you didn't do
·7· ·something when there's no proof that you did.
·8· · · · SHARON CHURCHER:· The fact that she had to ask me
·9· ·--
10· · · · TONY LYONS:· Nothing is --
11· · · · SHARON CHURCHER:· The fact that she had to ask me
12· ·who to name, I mean, I think he's right.· But I'm not
13· ·positive I remember this email.· But then I can't
14· ·prove that either, you see.
15· · · · TONY LYONS:· Right.· So she might have that
16· ·email.
17· · · · SHARON CHURCHER:· (Inaudible).· I talked to my
18· ·lawyers.· I said, you know --
19· · · · TONY LYONS:· That's on --
20· · · · HECTOR:· (Inaudible).
21· · · · SHARON CHURCHER:· (Inaudible) I changed it.
22· · · · TONY LYONS:· No, that's on --
23· · · · HECTOR:· (inaudible).
24· · · · SHARON CHURCHER:· If you open your laptop --
25· · · · TONY LYONS:· I think so.


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·1· · · · SHARON CHURCHER:· -- you can edit emails.                  I
·2· ·wanted to try it, and you can do it.
·3· · · · TONY LYONS:· Oh really?
·4· · · · SHARON CHURCHER:· Oh, yeah.
·5· · · · TONY LYONS:· So then how do you even --
·6· · · · SHARON CHURCHER:· But how do you prove that?
·7· · · · TONY LYONS:· Yeah, yeah, see look.· It's here.
·8· ·Actually here now.
·9· · · · HECTOR:· Yeah.
10· · · · TONY LYONS:· Let's see if it's moving at all.· So
11· ·Kindle is there.
12· · · · HECTOR:· It's number one on what?
13· · · · TONY LYONS:· It was just because of the post.· So
14· ·it's not --
15· · · · SHARON CHURCHER:· That's nice, though.· I guess
16· ·Kindle doesn't make money or --
17· · · · TONY LYONS:· Kindle -- Kindle ranking -- I mean,
18· ·it's not coming out for a month and a half.· But at
19· ·least it's sort of like started now.
20· · · · SHARON CHURCHER:· Something like this, you could
21· ·get a sale.· You think something like this if you put
22· ·it in the right places to sell it -- yeah, people
23· ·would look it up, wouldn't they?· You're right.
24· · · · TONY LYONS:· I think it's -- wait a second.
25· · · · SHARON CHURCHER:· (Inaudible) pick up something


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·1· ·like this.
·2· · · · TONY LYONS:· This is the wrong cover.
·3· · · · HECTOR:· Oh.
·4· · · · TONY LYONS:· We should get that fixed right away.
·5· · · · HECTOR:· Okay.
·6· · · · TONY LYONS:· What is Brian's -- that's
·7· ·(inaudible).· Brian -- stuff is endless.· Oh, today's
·8· ·Wednesday.· He's not here.
·9· · · · HECTOR:· (Inaudible).
10· · · · TONY LYONS:· Yeah, Orin is 200?
11· · · · ORIN:· Hello?
12· · · · TONY LYONS:· Yeah, could you call Brian and tell
13· ·him that he fed out the wrong cover?
14· · · · ORIN:· Yeah, absolutely.· Which one is that out?
15· · · · TONY LYONS:· The one that says Me Too and
16· ·Epstein.
17· · · · ORIN:· Gotcha.· Okay.
18· · · · TONY LYONS:· Because it has nothing to do with
19· ·Epstein.
20· · · · ORIN:· I'll get it pushed through, the right one.
21· · · · TONY LYONS:· Yeah.
22· · · · SHARON CHURCHER:· I saw that, yeah.
23· · · · TONY LYONS:· Yeah, that's --
24· · · · SHARON CHURCHER:· That's totally wrong, isn't it?
25· · · · TONY LYONS:· Let's see.· Oh, yeah, it's weird.


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·1· ·Thanks a lot.
·2· · · · ORIN:· Yeah, no problem.· See you.
·3· · · · TONY LYONS:· Wait, Orin?
·4· · · · ORIN:· Yeah, Tony?
·5· · · · TONY LYONS:· So it's right on -- on one spot, and
·6· ·when you click on the Kindle, it's wrong.
·7· · · · ORIN:· Okay.· If you have it up on your computer,
·8· ·can you send me a quick link, and I'll get it to
·9· ·Brian, as well?
10· · · · TONY LYONS:· I don't know how to do that.
11· · · · ORIN:· Okay, no worries.· I'll find it on Amazon.
12· · · · TONY LYONS:· Sorry about that.
13· · · · ORIN:· It's not a huge deal.
14· · · · TONY LYONS:· All right.
15· · · · ORIN:· Okay.
16· · · · SHARON CHURCHER:· So I can --
17· · · · TONY LYONS:· Showing my age.
18· · · · SHARON CHURCHER:· -- my husband pulled out that
19· ·OSHA stuff --
20· · · · TONY LYONS:· That's great.
21· · · · SHARON CHURCHER:· I've got the dating app stuff,
22· ·and I found that fraternization stuff.· There's loads
23· ·of stuff around.· So the end, it's going to be being a
24· ·bit creative and throwing in some big names, isn't it,
25· ·(inaudible).


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·1· · · · TONY LYONS:· Yeah.· But just for the vignettes
·2· ·and --
·3· · · · SHARON CHURCHER:· It has to have (inaudible)
·4· ·probably or something.
·5· · · · TONY LYONS:· Yeah.
·6· · · · SHARON CHURCHER:· Just change the type face,
·7· ·right?
·8· · · · TONY LYONS:· I would -- I would say we -- you
·9· ·know, we get quotes from a whole bunch of lawyers on
10· ·all sides of it and --
11· · · · SHARON CHURCHER:· I quite like that, actually,
12· ·yeah.
13· · · · TONY LYONS:· Really just try to -- you know,
14· ·maybe even some politicians, what do politicians have
15· ·to say about it.
16· · · · SHARON CHURCHER:· Yeah, some might play along,
17· ·right?· But you'd use -- you know, I'd use those at
18· ·the beginning of little sections --
19· · · · TONY LYONS:· Yeah.· I would make it relatively
20· ·short.· You know, like 5 -- 5 by 7 or something like
21· ·that.· What is it, 5 1/4 by 7 1/2, something like
22· ·that.· With rounded corners and just like a real
23· ·handbook.
24· · · · SHARON CHURCHER:· Are you going to make it
25· ·illustrated or not?· P.J. O'Rourke on his one on


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·1· ·manner did, but I don't know on this one.
·2· · · · TONY LYONS:· I don't think so because I think it
·3· ·kind of just makes it comic.
·4· · · · SHARON CHURCHER:· Yeah, yeah.· So the idea is
·5· ·we're going to keep this just on the side of being --
·6· ·you know, maybe ridiculous.· But it started out,
·7· ·obviously, as people suffered.· But it's become a --
·8· · · · TONY LYONS:· Yeah.· But this is -- this is sort
·9· ·of like what the rules are.· So some people could view
10· ·it as how to protect yourself, but I think it's better
11· ·to just say where has the world gotten to now.· And
12· ·you know, so then nobody is pissed off because on the
13· ·one hand, it's -- it's sort of codifying what's been
14· ·accomplished that the rules in -- in work, the rules
15· ·in social contexts have all changed.
16· · · · SHARON CHURCHER:· We're talking about the way it
17· ·is, you mean.· We're not passing judgment.
18· · · · TONY LYONS:· Right.
19· · · · SHARON CHURCHER:· Just talking about the way it
20· ·is.
21· · · · TONY LYONS:· So there's no judgment, and what are
22· ·the things that --
23· · · · SHARON CHURCHER:· So if we did a dating app --
24· · · · TONY LYONS:· -- you do to protect yourself.
25· · · · SHARON CHURCHER:· (Inaudible).


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·1· · · · TONY LYONS:· Yeah.
·2· · · · SHARON CHURCHER:· Download this app.
·3· · · · TONY LYONS:· Right.
·4· · · · SHARON CHURCHER:· Yeah.
·5· · · · TONY LYONS:· Right.· And maybe we -- I mean, if
·6· ·we want to be really mercenary, we can try to make a
·7· ·deal with that app.
·8· · · · SHARON CHURCHER:· You mean put out an app to --
·9· · · · TONY LYONS:· Well, where we give them a free
10· ·advertisement in the book, and we get them to help us
11· ·promote it.
12· · · · SHARON CHURCHER:· I have a friend who drives
13· ·Porsches (inaudible) he got Porsche to sponsor one of
14· ·his books.· He got a car out of it.
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· They just had --
17· · · · TONY LYONS:· I think that's great.
18· · · · SHARON CHURCHER:· -- (inaudible) all the way
19· ·through.
20· · · · TONY LYONS:· Yeah.· I mean, that's what they do -
21· ·- isn't Netflix starting to do that sort of thing?
22· ·Because there's --
23· · · · HECTOR:· (Inaudible).
24· · · · TONY LYONS:· Yeah, because they're not doing well
25· ·or they're having --


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·1· · · · SHARON CHURCHER:· So do I get a (inaudible)
·2· ·budget for my wardrobe?
·3· · · · TONY LYONS:· I don't know.· Subject to
·4· ·negotiation.· But if we can get --
·5· · · · SHARON CHURCHER:· We have to get someone to
·6· ·sponsor it.· They just provide it.
·7· · · · TONY LYONS:· Right, right, right.
·8· · · · SHARON CHURCHER:· The cover up.
·9· · · · TONY LYONS:· So if we got -- yeah.
10· · · · SHARON CHURCHER:· But I think it has to be
11· ·totally factual, I agree --
12· · · · TONY LYONS:· Yeah.
13· · · · SHARON CHURCHER:· -- and not passing judgment.
14· ·You just have to take it very seriously.
15· · · · TONY LYONS:· Yeah.
16· · · · SHARON CHURCHER:· It would be nice, wouldn't it,
17· ·to -- you are right -- get one or two legal opinions
18· ·or --
19· · · · TONY LYONS:· I mean -- it would be great to have
20· ·like a section on clothing.· But -- so clothing is
21· ·sort of like --
22· · · · SHARON CHURCHER:· I don't know if that's changed,
23· ·though.
24· · · · TONY LYONS:· So part of the problem with clothing
25· ·is that it becomes sort of like -- like you're


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·1· ·punishing people.· You know --
·2· · · · SHARON CHURCHER:· But again --
·3· · · · TONY LYONS:· Because you're blaming the victim
·4· ·for how they're dressed, right?
·5· · · · SHARON CHURCHER:· Oh, I see.
·6· · · · TONY LYONS:· So you don't want to do that.· But
·7· ·maybe you can get around that by saying, well, that's
·8· ·what people will say if you have a clothing section.
·9· ·So you have a boxed thing saying this is no way is
10· ·about blaming people for how they dress.· This is
11· ·about --
12· · · · SHARON CHURCHER:· You're wearing -- you can't do
13· ·that.· You're worrying too much.· You're either going
14· ·to do this or you're not.
15· · · · TONY LYONS:· I think -- I think you answer all
16· ·the accusations.
17· · · · SHARON CHURCHER:· You have to just keep a
18· ·straight face with all this.· It's the way things are.
19· ·You've said that.
20· · · · TONY LYONS:· Right.
21· · · · SHARON CHURCHER:· If people have been, you know,
22· ·basically intimidated into this --
23· · · · TONY LYONS:· Yeah.
24· · · · SHARON CHURCHER:· -- it's not our problem.· We
25· ·didn't do it.


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·1· · · · TONY LYONS:· Yeah.· Okay.
·2· · · · SHARON CHURCHER:· You have to have a hashtag for
·3· ·it, too, though.
·4· · · · TONY LYONS:· Hashtag --
·5· · · · SHARON CHURCHER:· (Inaudible).
·6· · · · HECTOR:· (Inaudible) section on alcohol.· I mean,
·7· ·(inaudible) behavior both from the victim and from --
·8· · · · SHARON CHURCHER:· Oh, I know, you're right.
·9· ·Drinking and drugging, yeah, totally.· I'd love that
10· ·section (inaudible) where it said it was teaching
11· ·children the metric system.· The drug use (inaudible)
12· ·I thought it was really clever.
13· · · · TONY LYONS:· Right.· We could say hashtag
14· ·Definitely Not Me.· After this book.· What's up?
15· · · · FEMALE VOICE:· (Inaudible).
16· · · · TONY LYONS:· Okay.
17· · · · FEMALE VOICE:· You want me to reschedule her?
18· · · · TONY LYONS:· No, that's okay.· I think we've made
19· ·lots of --
20· · · · SHARON CHURCHER:· I'll look (inaudible) and then
21· ·if you want to see if Alan would be interested, if
22· ·not, we'll have to find another poor person to --
23· · · · TONY LYONS:· Yeah.· I will --
24· · · · SHARON CHURCHER:· But he'll be fantastic.                  I
25· ·don't care if he just wants to put his name on it.


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·1· ·But I think the combination might be quite good.
·2· · · · TONY LYONS:· Yeah, Alan is not the type who would
·3· ·ever put his name on anything.
·4· · · · SHARON CHURCHER:· But (inaudible) got all these
·5· ·stories.· They're not Alan, of course.
·6· · · · TONY LYONS:· Yeah.
·7· · · · SHARON CHURCHER:· But call it The Other Men.
·8· · · · TONY LYONS:· Yeah.
·9· · · · SHARON CHURCHER:· I mean, Strom Thurmond's big
10· ·mistake, you know, was --
11· · · · TONY LYONS:· But I think that's a great opening
12· ·chapter that you're the person who went out and -- and
13· ·got a lot of these people.· And that's part of this
14· ·whole movement.
15· · · · SHARON CHURCHER:· Yeah.· (Inaudible) --
16· · · · (Overlapping voices)
17· · · · TONY LYONS:· -- at the forefront of it.
18· · · · SHARON CHURCHER:· -- and then he became
19· ·victimized by it.· Yes.
20· · · · TONY LYONS:· Yeah.· So that's like --
21· · · · SHARON CHURCHER:· There's actually -- no
22· ·journalist caught him doing anything.
23· · · · TONY LYONS:· Right, but that's the whole -- the
24· ·whole gamut of it is starting out years ago going
25· ·after certain people.· And then it goes all the way to


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·1· ·the point where maybe it's gone too far.
·2· · · · SHARON CHURCHER:· Well, it started with what's
·3· ·his name?· Donna Rice, was it, remember?· Was it Donna
·4· ·Rice?· Those pictures on the boat.· It's the first
·5· ·time the media went after a politician for having
·6· ·mistresses.· Who was it?· One of the Democratic
·7· ·candidates.
·8· · · · TONY LYONS:· That was Clinton, right?
·9· · · · SHARON CHURCHER:· No, way before Clinton.
10· · · · HECTOR:· Before.
11· · · · SHARON CHURCHER:· It was Donna Rice was the
12· ·woman.
13· · · · HECTOR:· Edward?
14· · · · TONY LYONS:· John Edwards?
15· · · · SHARON CHURCHER:· No, John Edwards had the love
16· ·child who was being paid for by --
17· · · · HECTOR:· Before him.
18· · · · SHARON CHURCHER:· It was Donna Rice.· That was
19· ·when it started because until then, it was taboo to
20· ·write about a politician's personal life.
21· · · · HECTOR:· Who's the guy who went on the boat with
22· ·the woman?
23· · · · SHARON CHURCHER:· That's right.· And there were
24· ·all the pictures of the -- it was called -- it had a
25· ·funny name, too, the boat.· Remember?


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·1· · · · HECTOR:· Right.· I forgot his name.
·2· · · · SHARON CHURCHER:· I forget too.· But that's when
·3· ·-- after that, it became -- here we go.· Cheating
·4· ·ordeal.· Where's Donna Rice now?· Gary Hart.
·5· · · · HECTOR:· That's it.
·6· · · · TONY LYONS:· Oh, Gary Hart.· Right, right, right.
·7· · · · SHARON CHURCHER:· Until Gary Hart.· And I suppose
·8· ·that is the kind of context you could set him in.· We
·9· ·could always have Donna or someone do the -- the
10· ·afterword.
11· · · · TONY LYONS:· Somebody like that.
12· · · · SHARON CHURCHER:· Apparently she's around, it
13· ·says.
14· · · · TONY LYONS:· That could be great.
15· · · · SHARON CHURCHER:· It says -- yeah, so she's still
16· ·around.
17· · · · TONY LYONS:· So I have these two people waiting
18· ·who are going to get pissed off, so --
19· · · · SHARON CHURCHER:· (Inaudible).· Anyway, thanks
20· ·for giving me time.
21· · · · TONY LYONS:· Yeah.· I thought that was great.
22· ·And it was a lot of fun, and I really hope we can do
23· ·it.
24· · · · SHARON CHURCHER:· Yeah, let's --
25· · · · TONY LYONS:· So the question is if Alan doesn't


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·1· ·want to do it, then the question is --
·2· · · · SHARON CHURCHER:· Find someone else.
·3· · · · TONY LYONS:· -- who else do we have.· But Alan
·4· ·would be great.
·5· · · · SHARON CHURCHER:· Alan would be perfect.· And it
·6· ·would be a way for him to get a little bit more of a -
·7· ·- I mean, I just think it's incredible.· (Inaudible) -
·8· ·-
·9· · · · TONY LYONS:· It might be a little bit of a
10· ·vindication, too, that -- that he's basically saying
11· ·there were these serious problems, there are these
12· ·serious problems.· Here's a book that tells my story,
13· ·the one that he just wrote.· And here's a book that
14· ·tells people how they should act.
15· · · · SHARON CHURCHER:· Yeah, exactly.· In an age in
16· ·which people -- it's just very unfair if you've got to
17· ·deal with an unfair society and you say that in the
18· ·preface.
19· · · · TONY LYONS:· Yeah.· But basically --
20· · · · SHARON CHURCHER:· (Inaudible) situation where
21· ·it's not a level playing field.
22· · · · TONY LYONS:· Yeah.· Basically lots of people who
23· ·know that it's unfair to some extent to say, yeah,
24· ·well, we've had 1,000 years of it being unfair in the
25· ·other direction.· So you know, this is payback.


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·1· · · · SHARON CHURCHER:· (Inaudible) right.
·2· · · · TONY LYONS:· But the problem is that that's not
·3· ·the way progress can really be made.· That's the way
·4· ·you have a terrible --
·5· · · · SHARON CHURCHER:· (Inaudible) justice --
·6· · · · TONY LYONS:· It's not justice, and it leads to a
·7· ·-- to a backlash that then takes away a lot of the
·8· ·gains.
·9· · · · SHARON CHURCHER:· As I say because apparently the
10· ·hiring is really changed.· Companies are now hiring
11· ·men in the whole because they really don't want the
12· ·problem of dealing with young women, in particular --
13· · · · TONY LYONS:· I don't think it's like that in
14· ·publishing.· I mean, we have eight out of ten people
15· ·here are female.· But -- which I think is true at
16· ·every publishing company.· It might not be eight, but
17· ·it might be seven.· Even at Random House.· It's like
18· ·you walk around Random House, it's hard to find guys.
19· · · · SHARON CHURCHER:· Is that because you make more
20· ·on Wall Street, do you think?
21· · · · TONY LYONS:· I don't know.· I don't know what
22· ·that is.· Maybe men don't read as much.
23· · · · SHARON CHURCHER:· I don't know.
24· · · · TONY LYONS:· (Inaudible).
25· · · · SHARON CHURCHER:· There's obviously differences


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·1· ·between the sexes, too, even if you don't like to
·2· ·think it.· I mean, there are, what we do in life,
·3· ·aren't there, and how we behave, and all these things.
·4· · · · TONY LYONS:· Maybe.
·5· · · · SHARON CHURCHER:· And perhaps we work for less
·6· ·money.
·7· · · · TONY LYONS:· Maybe.
·8· · · · SHARON CHURCHER:· Maybe the women -- no, it's
·9· ·true, though, the women -- there's still some of that,
10· ·isn't there, a lot of young women thing they're going
11· ·to go off and have a family soon, so they'll do a job
12· ·that's fun.· The guy is thinking still --
13· · · · TONY LYONS:· Make as much money as he can
14· ·possibly make.
15· · · · SHARON CHURCHER:· The girls haven't changed as
16· ·much as people think.· Especially out in the suburbs
17· ·where I live.· It's very traditional.
18· · · · TONY LYONS:· But that, I think, is a good sort of
19· ·part of the book, too, is where are we really now.
20· ·Like, where do people think we are, and we are we
21· ·really.· But -- all right, I should go.
22· · · · SHARON CHURCHER:· Okay.
23· · · · TONY LYONS:· I don't want to --
24· · · · SHARON CHURCHER:· I like your library.
25· · · · TONY LYONS:· Thanks.· Can I give you a book?


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·1· ·(End of audio recording.)
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·1· · · · · · · · · · · · · · CERTIFICATE

·2
· ·   · · · · · ·I, Wendy Sawyer, do hereby certify that I was
·3
· ·   ·authorized to and transcribed the foregoing recorded
·4
· ·   ·proceedings and that the transcript is a true record, to
·5
· ·   ·the best of my ability.
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· · · · · · · · · · DATED this 11th day of September, 2020.
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· · · · · · · · · · · · ·WENDY SAWYER, CDLT
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